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                       EXHIBIT 16
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       I RANIAN I NFLUENCE
      IN THE L EVANT, I RAQ ,
        AND A FGHANISTAN




FREDERICK W. KAGAN • KIMBERLY KAGAN • DANIELLE PLETKA




        A REPORT   OF THE   AMERICAN ENTERPRISE INSTITUTE
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         I RANIAN I NFLUENCE
        IN THE L EVANT, I RAQ ,
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                               k
                   FREDERICK W. KAGAN
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    A REPORT     OF THE   AMERICAN ENTERPRISE INSTITUTE
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                                               Introduction


T     he conflict between Iran and the United States
      began in 1979 with the Iranian Revolution and
the seizure of the American Embassy in Tehran. Born
                                                            influence in post-Saddam Iraq. Indeed, mounting evi-
                                                            dence of Iranian support for Shia and Sunni groups
                                                            fighting American troops in Iraq generated deep con-
partly of ideological differences and partly of real and    cern in the United States, and sporadic reports of simi-
perceived differing national interests, it has continued,   lar Iranian support to the Taliban in Afghanistan have
alternately hot and cold, for almost three decades and      received short bursts of attention. But Tehran ensured
seems unlikely to end soon. Like most previous con-         its place in the spotlight as it rapidly moved toward an
flicts, its conclusion cannot be foreseen. Many such        escalation of tensions over its nuclear program.
struggles, like the Anglo-German tensions between               The policy debate in the United States has gener-
1871 and 1945 and the centuries-long tensions               ally centered around a single issue: will (or should)
between Britain and France, lead to full-scale war.         the Bush administration launch military strikes
Others, like the Anglo-Russian or Russian-Ottoman           against Iran? Most have seen the Iranian nuclear pro-
tensions throughout the nineteenth century, lead to         gram as the likeliest trigger for a U.S. attack. Those in
more limited conflict. And some, like the U.S.-Soviet       the United States and Europe who oppose such a
Cold War, are resolved without direct armed con-            reaction have attempted to design a program of sanc-
frontation. One key to resolving any such conflict is       tions and diplomacy aimed at resolving the “nuclear
understanding both the nature of the enemy and the          issue.” Fear that other points of conflict, particularly
scope of the conflict—insights that have eluded most        Iranian support of insurgents and terrorists in Iraq
Americans and, indeed, many Iranians. This report           and Afghanistan, might become another trigger has
addresses this lack of understanding and argues that        also led to controversy over and even obfuscation of
while neither Americans nor Iranians desire full-scale      events in those two important theaters. And Iran’s
military confrontation, Iranian activism and American       continued support for Hezbollah, Hamas, Palestinian
passivity are contributing to a drift toward war.           Islamic Jihad, and other terrorist groups, while undis-
    Iran has been in the headlines on and off since         puted, is rarely mentioned—most likely out of fear
1979, but its significance for the United States            that “war hawks” will use any evidence of Iranian
increased dramatically after the attacks of September       wrongdoing to press for immediate military strikes.
11, 2001, and the subsequent invasions of Afghani-              The desire of the Bush administration—and even
stan and Iraq. Iran had long been recognized as the         most of the supposed hawks—to attack Iran has
premier state sponsor of terrorism, but following           always been overstated. Although some writers have
9/11, Americans were less willing than they had been        advocated using military means to promote regime
to tolerate Iranian attacks, such as the 1983 U.S.          change in Tehran, few—if any—serious Iran ana-
Marine barracks bombing that killed 241 U.S. troops         lysts or defense specialists have recommended using
and the 1996 bombing of the Khobar Towers in Saudi          force in the first instance. There has been no con-
Arabia, and Iranian support for groups—like Hamas           certed effort within the administration—and very
and Palestinian Islamic Jihad in the West Bank and          little pressure from the outside—for an attack. There
Gaza—with a history of killing Americans.                   is no comparison, for instance, between the biparti-
    After Saddam Hussein was overthrown, it imme-           san efforts to condemn, contain, or remove Saddam
diately became clear that Iran would have significant       Hussein in the 1990s and again in 2003 and isolated

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    attempts to promote military strikes against Iran             be able to recognize openly, fully, and objectively Iran’s
    since the start of the Iraq war. The reason is simple:        activities in the region that affect our interests without
    Iran is more than three times as large as Iraq in every       fearing that such recognition will lead to a foolish war.
    dimension, with daunting physical terrain, even               And we must also recognize that our conflict with Iran
    more daunting human terrain, and a global terrorist           is regionwide, complex, and broad-based—it is not a
    network. The prospect of full-scale war has never             simple misunderstanding over the nature of Iran’s
    been appealing, and the waning of enthusiasm for              nuclear program or the threat Tehran feels from hav-
    precision-strike regime change after 2003 has made            ing U.S. troops deployed to its east and west. This
    that option relatively unattractive as well.                  report aims to present empirical evidence of Iran’s
        This is not to say that the Bush administration or        actions in three critical areas: Iraq, Afghanistan, and
    its successors will not launch either limited or full-        the Levant (Syria, Lebanon, and the West Bank and
    scale military operations against Iran. Unattractive as       Gaza). It does not address Iran’s nuclear program,
    the prospect of military conflict is, the prospect of an      which is relatively familiar to most people who follow
    Iranian nuclear arsenal is at least equally unappeal-         the issue, nor does it address Iranian activities beyond
    ing. Much as Americans might desire to avoid war              the broader Middle East and South Asia, although
    with Iran, continued Iranian intervention in Iraq,            these are also worthy of study. Above all, it makes few
    Afghanistan, and throughout the Middle East might             claims about Iran’s intentions.
    ultimately make that option less repulsive than the               The debate about the aims and even the nature
    alternatives. Western democracies do not go to war            and power of the Iranian regime is charged. The
    because they want to—they go to war when they                 regime is unusually opaque. The combination of
    determine that they have no other choice. The chal-           openness, rhetorical diversity, apparent internal
    lenge in managing any cold war lies in ensuring that          schism, plausible and implausible deniability, and
    neither side ever feels that hot war is the lesser evil.      American neuralgia about Iranian intentions has
    And the key to that challenge is finding a modus              made drawing firm conclusions about Iranian presi-
    vivendi, rather than insisting one side surrender to          dent Mahmoud Ahmadinejad’s government or its
    the other. This platitude is normally taken to mean           possible successors almost hopeless. In the end, the
    that the United States should make sufficient conces-         United States is not likely to achieve any important
    sions to Iran to mollify the mullahs. But the often-          goals vis-à-vis Iran without addressing better than we
    ignored converse is also true: stability will not result      have thus far the issue of who controls the levers of
    any more from an American surrender to Iran than              power in Tehran and what they intend to do. But the
    from an Iranian surrender to America.                         American debate has thus far been so short on facts
        Sadly, there is very little prospect of success in this   and so compartmentalized that establishing a ground-
    or any other endeavor unless the policy debate moves          truth of Iran’s activities in its immediate environs,
    beyond the compartmentalization and hysteria that             whatever their goals and whoever ordered them, is an
    have characterized the discussion thus far. We must           important undertaking.




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                   Syria, Lebanon, and the West Bank/Gaza


I  ranian policy in Syria, Lebanon, and the West
   Bank and Gaza is a microcosm of Tehran’s broader
foreign policy strategy. Although it is possible to
                                                               al-Assad, have been fingered in the assassination of for-
                                                               mer Lebanese prime minister Rafiq Hariri.3) Bashar’s
                                                               weakness at home, his precarious position in a “dictator-
view Iran’s actions in each of these areas as indicative       ship without a dictator,”4 and a changing international
of separate bilateral relationships, a step back reveals       scene have led him to rely on an ever closer relation-
a larger pattern. In each instance, Iran began with            ship with Tehran for both guidance and security.
significant investment in allies—in the case of Syria,             Notable examples of this shift include several
the regime; in Lebanon, the Shiite “militia” Hezbol-           reported weapons transfers between the two states,
lah; and in the Palestinian areas, rejectionist groups         possible cooperation on weaponization of chemical
opposed to Fatah, including Hamas and Palestin-                weapons, joint training on newly supplied air
ian Islamic Jihad. Many in the United States and in            defense systems from Russia, and Iran’s likely financ-
other governments—particularly in the intelligence             ing of Syrian weapons acquisitions.5 In addition,
community—are keen to identify a clear operational             Iran has achieved an important presence in Syria in
relationship between the Iranian regime and its                recent years. While some might argue that this pres-
regional allies. This, however, misses the point of the        ence merely serves to enhance Syrian security, Syrian
Iranian model: proxies are ideological and political           parliamentary speaker Mahmoud al-Abrash was
fellow travelers who serve their own interests as well         more honest in November 2006 when he stated that
as Iran’s. Only rarely do observers see Tehran giving          “Damascus considers consultations and cooperation
direct operational instructions to these groups. That          with the Islamic Republic of Iran as a major rule and
said, it is questionable whether Iran’s allies could           principle of its foreign policy.”6
survive without the cash, arms, and diplomatic sup-                Under Hafez al-Assad, the Iranian ambassador to
port the Islamic Republic regularly provides.                  Damascus wielded considerable clout, but Iranian
                                                               military forces were not active in Syria. They confined
                                                               their activities to the Hezbollah stronghold in the
                        Syria                                  Bekaa Valley in Lebanon and Lebanon’s southern Shi-
                                                               ite redoubt. That is no longer the case. Syria’s evolu-
Military Relations. In July 2007, Syrian president             tion from partner to enabler to inferior has been
Bashar al-Assad and Iranian president Mahmoud                  visible. In 2005, the two states agreed to cooperate on
Ahmadinejad declared that “Iran and Syria were, are,           defense matters, including the construction of joint
and shall be brothers and allies.”1 Under Hafez                Iranian-Syrian signals intelligence stations (completed
al-Assad, Bashar’s father, Syria and Iran were indeed          in 2006) in the Al-Jazira region in northern Syria and
allies rather than master and subordinate. Since Hafez         on the Golan Heights7 and a Syrian commitment to
al-Hassad’s death in June 2000, however, the weak              “allow Iran to safely store weapons, sensitive equip-
son has been incapable of earning respect in the region        ment, or even hazardous materials on Syrian soil
or at home. Instead, he is widely rumored to lean on           should Iran need such help in a time of crisis.”8
the power behind his throne—his brother-in-law and                 By December 2006, Al-Hayat, a daily pan-Arab
head of Syrian military intelligence, Assef Shawqat.2          UK-based newspaper, reported that an Iranian Rev-
(Shawqat and Bashar’s younger brother, Maher                   olutionary Guard base was established in Damascus.

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    While many Iranian-funded Palestinian rejectionist       In exchange for this package, Syria pledged not to
    groups such as Hamas, Palestinian Islamic Jihad,         enter into peace negotiations with Israel.15
    and others have found a home in Damascus, it is              This agreement follows on a June 2006 coopera-
    unclear why the Assad regime would give a head-          tion agreement signed by Najjar and his Syrian
    quarters in its capital to the most potent and sub-      counterpart General Hassan Turkmani embracing
    versive terror apparatus in the Middle East. Yet the     roughly similar outlines—with a reported price tag
    deepening ties do not stop there.                        of $800 million.16 Whether these generous agree-
       In a March 2007 visit to Damascus, Iranian            ments are part and parcel of the new satellite rela-
    defense minister Mostafa Mohammad-Najjar placed          tionship or a response to possible Iranian fears about
    Iran’s defense capabilities at Syria’s disposal and      ongoing Syria-Israel secret talks is unclear. It is also
    underscored the two nations’ weapons manufactur-         unclear whether the Syrian military could function
    ing cooperation.9 While such declarations have           at this point without continued Iranian support.
    been regular features in past meetings, there is sub-
    stantial evidence that this time the promised            Economic Support. In the economic realm, the Syria-
    cooperation is real. Recent reports indicate that Iran   Iran relationship is undergoing the same deepening
    will acquire at least ten 96K6 Pantsyr-S1E short-        and broadening. The Syrian economy is becoming
    range gun and missile air defense systems from Syria     increasingly dependent on Iranian joint ventures,
    (which acquired them from Russia), with delivery         financing, and support in key sectors such as energy,
    scheduled for late 2008.10 In addition, Iranian Air      telecommunications, agriculture, and transportation,
    Force specialists are slated to train with the Syrians   as well as anticipated oil refineries, wheat silos, cement
    on the Pantsyr system.11 Reports suggest that in         plants, and a renovated oil pipeline from Iraq’s north-
    addition to its work on conventional weapons, the        ern oil fields to Syria’s Mediterranean coast. This eco-
    Iranian military is also cooperating on Syrian           nomic cooperation, reaching record levels over the
    weapons of mass destruction. In 2005, Tehran             past few years, represents bilateral trade estimated at
    reportedly committed to assisting Syria with its         $200 million per year and direct Iranian investments
    already well-developed chemical weapons program,         in Syria totaling more than $2 billion.17
    including the establishment of “four or five” new            In January 2007, the Syrian government reported
    production plants for VX and Sarin nerve agents and      that Iran was the top investor in Syria among non-
    a mustard blister agent.12 In July 2007, intelligence    Arab countries in 2006, with $400 million.18 Iranian
    agencies detected an explosion at a joint Iranian-       investment in Syria in 2006 was two-thirds that of
    Syrian site in Syria, and officials surmise that some-   total Arab investment and half that of all non-Arab
    thing went awry in efforts to fit chemical warheads      investment in the country.19 In addition, in late
    to short-range ballistic missiles.13                     2006, Iranian and Syrian officials estimated that the
       Assad and Ahmadinejad reportedly signed a new         volume of Iranian projects in Syria was around $750
    and secret military cooperation agreement in July as     million, compared with $100 million the year
    well.14 According to the report, the seven articles of   before.20 For its part, Iran sees few bounds to its rela-
    the agreement include new financing for Syrian           tionship with Syria, particularly in energy, even
    weapons purchases from Russia, Belarus, and North        including sharing nuclear technology. In March
    Korea; $1 billion to acquire four hundred Russian        2007, Ahmadinejad adviser Parviz Davoudi
    T-72 tanks, eighteen MiG-31 jets, eight Sukhoi-24        explained that “Iran’s intentions [are] to establish a
    bombers, and a number of Mi-8 helicopters; new           suitable framework for conducting [joint] oil and gas
    Iranian facilities in Syria to produce medium-range      activity. . . . Iran possesses innovative and significant
    missiles and launchers; new Iranian-made sea-            technologies, including nuclear technology for
    launched missiles for the Syrian navy; and technical     peacefulpurposes . . . which it is inclined to transfer
    support for nuclear research and chemical weapons.       to its friend and sister Syria.”21

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                                                                  SYRIA, LEBANON, AND THE WEST BANK/GAZA

   The most important sectors in which Iranian            Culture. In July 2007, Zahedi, Damascus University
investment, finance, and cooperation are key to the       chancellor Wail Mu’alla, and Iranian ambassador to
Syrian economy are as follows.                            Syria Mohammad-Hassan Akhtari discussed Iranian
                                                          financial and spiritual support for Persian-language
Transportation. SIAMCO is a $60 million joint ven-        faculty at Damascus University.29
ture in automotive production in which Iranian
automotive giant Iran Khodro Company has a 40             Electricity. The first phase of the Banias power plant
percent stake, the Syrian government 35 percent,          in Syria was inaugurated in June 2007. The Export
and a private Syrian company called Al Sultan the         Development Bank of Iran financed $11 million of
remaining 25 percent.22 In December 2007, the             the $18 million power plant, and the rest was pro-
Syriab Arab News Agency (SANA) reported that,             vided by Syria.30 Iranian energy minister Parviz
under a $50 million joint venture, the International      Fattah and his Syrian counterpart commissioned
Syrian-Iranian Factory for Cars will produce up to        two power plants in Syria in May 2007. The Ira-
fifteen thousand SABA cars a year and anticipates         nian company Azar Ab engaged in overhauling the
reaching a capacity of thirty-five thousand cars          170-megawatt power plant at a cost of around $62
annually in its final stage.23 In March 2007, the         million.31 The Iranian cabinet approved a $230
Samand automotive production line was inaugu-             million payment to establish a combined cycle
rated by Assad and Iranian vice president Parviz          power plant in Syria in April 2007.32 Fattah agreed
Davoudi. Iran plans to allocate 40 percent of the         with Syrian minister of electricity Ahamad Khalid
Syrian car market to itself and is estimated to bring     al-Ali in November 2006 to connect the power net-
in $220 million for its industry.24                       work of the two countries via Turkey and Iraq.33

Natural Resources. In September 2007, Iran’s acting       Oil. Iran’s deputy oil minister Mohammad-Reza
mines and industry minister Ali-Akbar Mehrabian           Nematzadeh, Syria’s deputy oil minister Hassan
announced $10 billion worth of Iranian investments        Zeinab, and Venezuela’s director general of refinery
in Syria within the next five years. The two countries    affairs Roberto Delgado agreed in October 2006 to
are currently cooperating on sixteen projects valued      construct a refinery with a capacity of 140,000 barrels
at $1 billion.25                                          per day of oil. The projected cost is $1.5 billion.34
                                                          In October 2007, Iran’s oil minister Golamhossein
Cement. A new cement plant was inaugurated in Syria’s     Nozari and Syrian oil minister Sufiyan al-Alaw signed
northern city of Hama, SANA reported. The $250 mil-       an agreement, expected to take effect by 2009,
lion plant has a production capacity of 1.1 million       whereby Iran will export 3 billion cubic meters of gas
tons annually and is expected to create four hun-         to Syria through Turkey.35
dred jobs.26
                                                          New Construction. An Iranian private-sector mission to
Water. Iran has undertaken a water supply project in      Syria offered to build an industrial city in Syria,
the Syrian city of Aleppo; in addition, several Iranian   including a steel mill with a production capacity of
companies, including Sabir and Satkab, are involved       eight hundred thousand tons a year, an eight-hundred-
in the construction of ten dams in Syria.27               megawatt power plant, and a housing complex with
                                                          fifty thousand housing units. The total cost was esti-
Education. In a July 2007 meeting, Iranian science,       mated at $8 billion, to be funded by the Iranian pri-
research, and technology minister Mohammad Mehdi          vate sector.36
Zahedi announced the establishment of an Iranian
university in Syria, which will be an international       Mining. In May 2006, Syrian minister of the economy
branch of Tehran’s Tarbiat Modares University.28          and trade Amir Husni Lutfi met in Tehran with

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    Iran’s minister of industries and mines Ali-Rez                        Lebanon and Hezbollah
    Tahmasbi. Tahmasbi stated that the current volume
    of trade exchange in industry and mining sectors          Hezbollah is a topic unto itself, a sophisticated political-
    amounted to over $1 billion. The Iranian minister         military-social organization—a key player in the
    stated that Iran is currently involved in some sixteen    Lebanese government, a dominant force in southern
    industrial and mining projects in Syria.37                Lebanon, a potent militia, itself a trainer for regional
                                                              terror groups, an exporter of terror, and more. Hezbol-
    Banking. In March 2006, the Bank Saderat of Iran          lah is a force to be reckoned with. For our purposes,
    and the Commercial Bank of Syria announced they           however, it is Hezbollah’s tie to Iran that demands
    will form a jointly run bank.38                           attention. Formed in 1982 by Iranian seminarians, its
                                                              links to Tehran have only strengthened as it has grown
    Trade. In February 2006, Davoudi discussed with           into a semi-autonomous power of its own.
    Assad, Syrian vice president Farouq al-Shara, and
    prime minister Muhammad Naji al-Utri possibili-           Weapons Transfers. At this point, there is little
    ties for opening joint ventures in the petrochemical,     doubt that Hezbollah has recovered from any set-
    gas, and oil sectors; installing production facilities,   backs suffered in its 2006 confrontation with Israel.
    including agricultural units and machinery, irriga-       The group has rearmed and regrouped, and Iran has
    tion, roads, and housing; transferring Iranian oil        been an important part of that recovery. In a Febru-
    and gas to Syria; and constructing a railway con-         ary 2007 interview, Hezbollah leader Hassan Nasral-
    necting Iran, Iraq, and Syria. Bilateral cooperation      lah openly stated that Iran is supplying his group
    has been placed at about $750 million. Trade              with monetary aid and weapons.40 Weapons ship-
    exchanges between the two countries stood at              ments come by land, sea, and air from Iran, often via
    $100 million in 2005. Over 350,000 Iranian pil-           Damascus. Shipments are frequent and large. For
    grims visit holy sites in Syria annually.39               example, Israel’s Intelligence and Terrorism Informa-
                                                              tion Center reported that at least nine times between
       Though Syria and Iran are independent states           December 2003 and January 2004, the Iranian Revo-
    and may freely contract any bilateral agreements          lutionary Guard Corps (IRGC) Quds Force “used
    they choose, it is worth noting that Tehran has           Iranian and Syrian cargo planes flying humanitarian
    not only contributed to building nearly one thou-         aid in to the earthquake victims . . . in Southeastern
    sand megawatts of electrical production capacity          Iran . . . to take large quantities of weapons for Hez-
    in Syria—while maintaining that it needs a civil-         bollah on their return flights.”41
    ian nuclear power program to supplement its own               Over the years, Iran has gone from supplying rudi-
    energy needs—but has also been working to inte-           mentary weapons to providing more sophisticated
    grate the Syrian and Iranian economies through            long-range missiles and other higher-end weaponry
    constructing roads, railways, and oil and gas             destined to escalate tensions on Lebanon’s southern
    pipelines and linking power grids. This growing           border. In mid-2004, IRGC officers reportedly
    economic interdependence (with Iran at the cen-           unloaded 220 missiles with a 250–350-kilometer
    ter of a dependency network) and the increase             range for Hezbollah at an airfield near Damascus.42
    in military aid from Iran to Syria risk reducing          Indeed, according to calculations reported by the
    Damascus to a vassal state that is so tied econom-        Middle East Media Research Institute (MEMRI),
    ically and militarily to its more powerful patron         between 1992 and 2005, Hezbollah received approx-
    that disobedience may become unthinkable.                 imately 11,500 missiles and rockets; four hundred
    Whether this was Tehran’s goal is not important.          short- and medium-range pieces of artillery; and
    What matters is that it is increasingly the reality       Aresh, Nuri, and Hadid rockets and transporters/
    in Syria.                                                 launchers from Iran.43 In 2005, Iran sent Hezbollah a

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                                                                    SYRIA, LEBANON, AND THE WEST BANK/GAZA

shipment of large Uqab missiles with 333-millimeter         Other sources note that the IRGC established twenty
warheads and an enormous supply of SA-7 and                 missile bases on the Israeli border in Lebanon.52 In
C-802 missiles, two of which were used in an attack         July 2006, a senior Iranian army officer reported that
on an Israeli ship.44                                       the IRGC had established dozens of advanced rocket
   During Hezbollah’s summer 2006 conflict with             and missile bases in the Lebanon Valley and along
Israel, Iran resupplied the group’s depleted weapons        the border with Israel.53
stocks. In July of that year, secret IRGC airlifts from        Other vignettes detail the depth and breadth of
bases in Bandar Abbas transported supplies for              Iranian training of Hezbollah, which often trickles
Hezbollah to the Dumeir Syrian military airfield near       down to other groups trained in Lebanon. MEMRI
Homs.45 A month later, Iran sent more advanced              (among others) does an excellent job collecting
surface-to-air missiles, including Strela-2/2M, Strela-3,   examples of Iranian support for Hezbollah’s mili-
Igla-1E, and the Mithaq-1. The same missiles were           tary capabilities:
reported to have been used to target Israeli helicop-
ters.46 Iran does not restrict its equipment support           • Two Hezbollah terrorists who were cap-
of Hezbollah to heavy arms: British-made night-                  tured by the IDF during the 2006 war con-
vision goggles found in a Hezbollah bunker during                fessed they had been trained by IRGC
the war apparently also came from Iran.47                        operatives at a camp near Karaj, north of
                                                                 Tehran. They said they were part of a group
Military Training. Hezbollah’s performance in 2006               of forty to fifty Hezbollah operatives trained
stunned Israelis who had long assumed that they                  in Iran.54
could devastate the terrorist group in any serious
confrontation. Far from it—in addition to hunker-              • In the last three years, fifty Hezbollah pilots
ing down in sophisticated tunnels built with North               have been trained. In Lebanon, there are
Korean assistance,48 Hezbollah fighters had bene-                seventy Iranian trainers and technicians as
fited from serious, in-depth training from IRGC on               well as sixty Faylaq Quds intelligence
the ground in Lebanon and Iran.                                  agents. There is a secret IRGC unit in Leba-
    Hezbollah reportedly had hundreds of Iranian                 non of twenty officers who track Israeli
engineers who, with North Korean experts brought                 movements and select targets in Israel.55
into Lebanon by Iranian diplomats, built a twenty-five-
kilometer underground tunnel to move fighters. The             • Hundreds of Hezbollah fighters took special
IRGC also constructed underground storerooms in the              training courses at IRGC bases in Tehran,
Bekaa Valley to hold missiles and ammunition.49                  Esfahan, Mashhad, and Havaz. Hezbollah’s
    It should not be assumed, however, that Hezbol-              missile unit includes two hundred techni-
lah cannot operate without IRGC guidance or plan-                cians and experts trained in Iran.56
ning. To the contrary, reports indicate that most
IRGC troops left Lebanon at the end of the 1980s               • Colonel Ali Reza Tamiz of the Quds Force
and were replaced by thousands of Hezbollahis who                is responsible for training Hezbollah
had fought and trained with Iranians inside Iran.50              members in the use of advanced equip-
Instead, IRGC troops appear to be in Lebanon to                  ment and weaponry, including Ra’ad mis-
help with specialized activities such as tunnel-                 siles, Shahin launchers, and surface-to-air
building and weapons-training. For example, Israel               missiles.57
Defense Forces (IDF) naval and ground forces
reported separately that IRGC officers were key to             We need not belabor the question of Iranian inten-
coordinating C-802 missile attacks against their            tions, but it is worth noting the series of events pre-
ships and missile fire against Israeli helicopters.51       ceding the Hezbollah-Israel confrontation. On April 28,

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    2006, director general of the International Atomic              The mechanism for transferring money should
    Energy Agency (IAEA) Mohamed ElBaradei submitted             not be complicated: Hezbollah is a legitimate user of
    a report to the IAEA board of governors and the              the Lebanese national banking system. Iran has also
    United Nations (UN) Security Council. The report             been reported to transfer large sums of money to
    noted “gaps” in the IAEA’s knowledge about “the role         Hezbollah using the Syrian and Palestinian banking
    of the military in Iran’s nuclear programme” and con-        systems, and Arab Bank has been identified as a
    cluded that “the Agency is unable to make progress           main conduit for channeling money to Hezbollah
    in its efforts to provide assurance about the absence        and other terrorist organizations.63 That said, there
    of undeclared nuclear material and activities in             have been occasional reports of suitcase-style cash
    Iran.”58 On June 8, ElBaradei released another report        transfers as well. Following the 2006 Israel-Lebanon
    to the IAEA board of governors, noting that Iran con-        war, Hezbollah was seen doling out hundreds of
    tinued to refuse to provide the requested information        hundred-dollar bills procured from a suitcase to
    about its nuclear program.59 On July 12, Lebanese            Lebanese seeking compensation for Israeli bomb
    Hezbollah forces crossed the Israeli border and              damage to their homes.64 An October 2006 report
    seized two Israeli soldiers, prompting an Israeli inva-      describing diplomatic bags stuffed with cash being
    sion of southern Lebanon that immediately grabbed            trundled to Lebanon states that the money origi-
    public attention.                                            nated from the religious center in the city of Mash-
        Iran certainly had an interest in distracting atten-     had as well as from other organizations in Qom,
    tion from the escalating investigation of its illegal        Shiraz, Gorgan, Kerman, Esfahan, and Zahedan. The
    nuclear weapons program in the summer of 2006.               money is mainly earmarked for reconstruction
    And once the Hezbollah-Israel war began, Iran had an         work—some sources claim it could be as much as
    interest in seeing Hezbollah emerge unscathed from its       $2 billion—and is managed in Lebanon by Hezbol-
    confrontation with Israel (hence Iran’s risky attempt to     lah’s treasurer, Nasrallah’s brother-in-law.65
    resupply Hezbollah with critical weapons in July).60 In         Iran has been key to Hezbollah’s regaining its rep-
    this instance, it seems appropriate to think of Iran as      utation, its social networks, and its political clout in
    Hezbollah’s enabler and of Hezbollah as a willing            the months since the 2006 conflict. While it seems
    handmaiden in times of Iranian need. Whether wreak-          clear that Hezbollah scored a major victory and
    ing havoc on the rest of Lebanon served Hezbollah’s          dented seriously Israel’s deterrent for the first time in
    long-term interests remains unclear. It is also unclear if   many decades, from a Lebanese perspective, things
    Tehran ordered Hezbollah to launch the attack that           look different. Nasrallah was forced to apologize to
    started the war or if the timing of the Lebanese crisis      the Lebanese people for bringing massive destruc-
    had nothing to do with the timing of the IAEA reports        tion upon the country.66 Many in Lebanon blamed
    and the prospect of UN sanctions. Regardless, the tim-       Hezbollah for initiating a war that Lebanon’s elected
    ing coincided rather nicely for Iran, and Tehran             government had not chosen.
    appears to have acted rapidly to support its proxy and          Extricating Hezbollah from Lebanese recrimina-
    benefit from the distraction.                                tions was an expensive task: Iran made $150 million
                                                                 available for Hezbollah to distribute to Lebanese citi-
    Economic Support. Because Hezbollah represents               zens.67 Fuel and generators were delivered to war-
    the historically poor Shiite community of Lebanon,           torn villages after the conflict, and families who lost
    money from Iran has been vital for buying and                homes were granted $12,000 each—all at Iran’s
    maintaining political support within the country.            expense.68 In July 2007, the head of Iranian recon-
    Estimates of Iran’s annual support to Hezbollah are          struction efforts in Lebanon, Hessham Koshnevis,
    in the range of $100 million or more per year.61             reported that out of the twenty-five bridges Iran had
    Iran’s total investment in Hezbollah has topped              pledged to rebuild, reconstruction of twelve was
    $1 billion and may be as high as $2 billion.62               complete; forty-three out of sixty-three villages had

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been rebuilt; and one hundred forty-nine schools             degree of latitude in operations but lacks complete
and fifty mosques had been rebuilt. Overall, Iran            independence from Iran. Whether or not Iran dic-
had finished 704 out of 1,032 reconstruction proj-           tates or merely advises how Hezbollah’s “political”
ects it pledged to carry out in Lebanon.69                   wing should behave inside Lebanon is less clear. It is
                                                             also evident that recent events have increased
Politics. Unlike proxies in Syria and even the Pales-        Hezbollah’s dependence on Iran even further. Both
tinian territories, which remain nominally independ-         Hezbollah’s loss of weapons and fighters in the con-
ent, Hezbollah is an important Iranian instrument            flict with Israel and the resulting damage to its rep-
over which Tehran exerts significant, though not             utation and position within Lebanon weakened
always clear, control. According to former Hezbollah         Hezbollah’s burgeoning independence and made it
secretary general Sheik Subhi Al-Tufeili (who broke          more reliant upon Iran.
with Iran and Hezbollah), “Hezbollah is a tool, and it
is an integral part of the Iranian intelligence appara-
tus. . . . Iran is the main nerve in the activity today in             West Bank/Gaza and Hamas
Lebanon. All Hezbollah activity [is financed] by
Iranian funds. Syria has an important role, but Iran         Military Training. The rhetoric of the Palestinian
is the main and primary support of [the Lebanese             struggle has been central to Arab and postrevolution-
opposition].”70 Iranian officials agree: Ali Akbar           ary Iranian foreign policy for decades. But a balance
Mohtashemi, one of the founders of Hezbollah, for-           sheet of Arab rhetoric and pledges of support to
mer Iranian ambassador to Syria and Lebanon, and             Palestinians adds up to very little in reality, particu-
former Iranian interior minister, has said that              larly compared with Iran’s very real, practical eco-
“Hezbollah is part of the Iranian rulership; Hezbollah       nomic and military support for rejectionist Palestinian
is a central component of the Iranian military and           groups (including, until very recently, the Palestine
security establishment; the ties between Iran and            Liberation Organization and Fatah). The 2006 U.S.
Hezbollah are far greater than those between a revo-         State Department report on terrorism accused Iran of
lutionary regime with a revolutionary party or organi-       providing “extensive” funding, weapons, and training
zation outside its borders.”71                               to Hamas, Palestinian Islamic Jihad, the al-Aqsa
    More recently, Hezbollah’s second-in-command,            Martyrs’ Brigades, and the Popular Front for the Lib-
Sheik Naim al Qassem, explained in an interview on           eration of Palestine–General Command.75
Iranian television that Hezbollah yields to Iranian              A review of the history of Iranian support for
authority for all military issues, including suicide         Hamas and other rejectionist Palestinian groups since
bombings, rocket launches, and other terrorist               Iran took the reins of the movement in 1992 is not
operations. Qassem references “‘al-wali al-faqih’ (the       practical in the context of this report. An examina-
ruling jurisprudent), a title formerly used by Ayatol-       tion of the last two years of relations, however, shows
lah Ruhollah Khomeini and presently used by his              a pattern similar to that of Iranian relations with Syria
successor, leader Ali Khamenei . . . to describe             and Hezbollah: financial support, weapons supplies,
Hezbollah’s source of authority.”72                          diplomatic coordination, and what might be called
    Qassem also explained that terrorist operations          the “Hezbollah-ization” of Iran’s relationships with
against Israel require Iranian permission.73 Whether         political/military terror groups. Notably, however,
Qassem’s interview is part of an ongoing power               Hamas has refused to accept money from Iran
struggle between the deputy and Nasrallah (recent            through Hezbollah and instead demanded its own
reports suggest Nasrallah was demoted in favor of            separate bilateral relationship. From a Palestinian
Qassem by an Iranian leadership furious over the             standpoint, this desire seems natural, and for the
fallout from the war with Israel)74 or a recitation of       Iranians, too, there would be little strategic reason to
facts, keen observers agree that Hezbollah has a             give more control to Hezbollah.

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         Past suggestions that a sectarian divide limits the         While Iran has proven itself willing to escalate the
     common cause between Iran and Sunni groups such             quality, reach, and sophistication of the weapons it
     as Hamas are based on a misreading of Iranian               supplies to its terror proxies, a newer and potentially
     pragmatism—Iranian support for Sunni as well as             more troubling trend is the quality of Iranian—par-
     Shiite insurgents inside Iraq is well documented (see       ticularly IRGC—military training. As Israel learned
     Chapter 2). Some see the Damascus location of the           to its detriment in the summer 2006 conflict with
     leadership of groups such as Hamas and Palestinian          Hezbollah, IRGC/Quds Force training has made ter-
     Islamic Jihad as a sign that there are two centers of       rorists much more effective against and lethal to an
     power among these groups. But while Palestinian             Israeli military that had once been dominant.
     Islamic Jihad—despite its localized mission to                  Although Hamas operatives have been trained by
     destroy Israel and establish an extremist Islamic           Iran for some years—likely since the early 1990s82—
     Palestinian state—is “almost completely dependent           Hamas representatives reportedly traveled to Tehran
     on Syria, which permits its leadership, under the           in 2006 to discuss the issue and, according to the
     direction of [Secretary General] Ramadan Shalah, to         Islamic Republic News Agency, were warmly received
     operate from its territory and from Lebanon, from           by Ahmadinejad, who offered anew to transfer Ira-
     where it directs its anti-Israeli terrorist activities in   nian “experience and achievements” to Hamas.83
     the Palestinian Authority–administered territories,”        Since then, large contingents of Hamas operatives
     the real boss remains “Iran, its most important             have been training inside Iran for significant periods
     patron, which provides it with massive financial            of time.84 A pro-Fatah news site, Intifadat Filastin,
     support.”76 Just as Syria has fallen under the Iranian      recently noted that 150 members of Hamas filtered
     shadow, so, too, have these groups become proxies           back into Gaza after spending over three months
     and fellow travelers of the Tehran regime.                  training in Iran.85 In addition, Iran reportedly sent
         In early 2007, the head of the Israeli Shin Bet,        advisers into Gaza to work with Hamas.86
     the domestic security service, reported that Iran               Although a report about a Hamas-Iran pact to
     had become Hamas’s main supplier of weapons                 train 6,500 men cannot be confirmed with other
     and training.77 Earlier reports indicated that Iran         sources, it seems credible that Tehran committed to
     was supplying Hamas with vehicles and aircraft,             training a Hamas “rapid deployment force of 6,500
     although there is no evidence that Hamas received           men in Hezbollah combat tactics.” The report goes
     the aircraft.78 Iran has also taken advantage of the        on to detail IRGC training and Iran’s agreement to
     relative proximity of Hamas to Hezbollah to enable          foot the bill for arming as well as training Hamas
     IRGC training for Hamas (and, reportedly, Fatah)            operatives at IRGC installations in southern Iran.87
     in the use of SA-7 (Strela) anti-aircraft missiles at
     the Janta Base in the Bekaa Valley in Lebanon.              Economic Support. Since Hamas’s electoral victory
     Graduates of this course reportedly transition to           in January 2006, Iran has reportedly smuggled hun-
     training in Iran near Qom.79 Others have benefited          dreds of millions of dollars to the Hamas leadership.
     from training by IRGC officers inside Gaza, and             According to the former security chief of Hamas rival
     Israeli officials have testified that they believe there    and Palestinian governing party Fatah, the group has
     are a large number of Iranian experts in Gaza.80 In         received $400 million from Iran.88 This money was
     a raid on a Hamas-linked Islamic university in              not simply to buy arms or pay for training; rather, as
     Gaza City in February 2007, national security               in Lebanon, Iran appears to be insinuating itself into
     forces affiliated with Palestinian president Mah-           the social and economic fabric of the Palestinian
     moud Abbas seized hundreds of weapons and                   areas, making itself an indispensable ally. Accord-
     arrested several Iranian citizens who had purport-          ingly, in December 2006, Iran allegedly promised
     edly been sent to the university by Iran to train           Hamas prime minister Ismail Haniya $250 million
     Hamas affiliates.81                                         in aid, including $100 million for 2007 salaries of

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employees working for the ministries of welfare,            of joint operations between the Revolutionary
labor, and culture; $45 million for allowances for          Guards and Iranian intelligence groups with revolu-
Hamas prisoners in Israeli jails; and aid for three         tionary forces in the region, including al Qaeda,
thousand Palestinian fisherman and one hundred              Hezbollah, and the Palestinian and Egyptian jihad
thousand unemployed workers.89 Because much of              organizations.92
the assistance comes to the Palestinians illicitly, num-        According to Shalah, “Palestinian Islamic Jihad is
bers are difficult to track. Hamas officials visiting       one of Khomeini’s numerous creations.”93 Unlike
Tehran in 2006 returned hauling cash, and the Inter-        Hamas, which can credibly claim to have some
national Monetary Fund estimates that in 2006 some          Palestinian roots, Palestinian Islamic Jihad appears
$70 million in cash was carried into the territories,       to be a wholly owned proxy organization. According
largely from Iran.90 And Haniya was famously nabbed         to the authoritative Intelligence and Terrorism Infor-
carrying a suitcase with $35 million from Iran.91           mation Center, Palestinian Islamic Jihad is “almost
    Iran did not create Hamas and does not control it.      totally dependent upon Iran.”94
But Tehran has clearly seized opportunities to estab-           Iran is likely the sole source of the organization’s
lish a patron-client relationship with this Sunni ter-      financing, providing the group with an estimated
rorist group. As is often the case with Iran’s external     $2 million in annual funding.95 Interestingly, even
activities, the relationship provides many benefits: It     Palestinian Islamic Jihad, which is far less potent
supports a key terrorist enemy of Israel, and anti-         and broad-based than Hamas, also demanded to be
Zionism is a core element—at least rhetorically—of          distinct from Hezbollah. In 2002, Supreme Leader
the present Iranian regime. It diversifies Tehran’s         Ayatollah Khamenei promised to separate Palestin-
portfolio in the Levant beyond Hezbollah and even           ian Islamic Jihad from the Hezbollah budget and
beyond the limited Shia community there, providing          expand its budget by 70 percent to cover suicide
a wedge into the Sunni extremist community on the           bomber recruiting.96
basis of need and common enemies. It opens the                  In addition, Iran has provided Palestinian Islamic
possibility of multiple “western fronts” in Iran’s strug-   Jihad with weaponry—Grad rocket components—
gle against the United States and Israel and multiple       smuggled into the Gaza Strip from Iran via the border
opportunities to generate distractions from events          with Egypt.97 Palestinian Islamic Jihad fighters have
elsewhere without having to sacrifice the same              also been among the hundreds of Palestinians that
proxy continuously. And, operationally, it establishes a    have trained with IRGC and Quds forces in Iran.98
potential Iranian proxy on another of Israel’s borders.
Again, the question of Tehran’s intentions is unim-
portant for the moment. What matters is that Iran                               Conclusions
benefits in all of these ways from intensifying the
support to its ally.                                        Iran has nurtured four separate but interconnected
                                                            proxy organizations in the Levant—the Syrian gov-
                                                            ernment, Hezbollah, Hamas, and Palestinian Islamic
       West Bank/Gaza and Palestinian                       Jihad. The first two have allowed or facilitated the
               Islamic Jihad                                positioning of Iranian headquarters, intelligence
                                                            bases, training camps, and weapons depots in Syria
In February 2003, Asharq Al-Awsat, a pan-Arab daily         and Lebanon. Iranian support to each has ranged
newspaper, and Voice of America published inter-            from high-end weapons to trainers to economic
views with Hamid Reza Zakeri, a supervisor and              assistance programs aimed at enhancing the stature
director of intelligence for the IRGC who defected          of each organization among its own target popula-
to the West. Zakeri claimed that as supervisor of           tion. The past two years have seen a significant
the intelligence apparatus’s secretariat, he was aware      expansion of Iranian support for all four groups and

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     concerted efforts to increase the dependency of               Media Research Institute (MEMRI), Inquiry and Analysis
     these groups on Tehran. In at least one case—                 Series no. 380, available at www.memri.org/bin/articles.
     Hezbollah in Lebanon—a proxy has taken actions                cgi?Page=countries&Area=iran&ID=IA38007 (accessed
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     Iran responded by increasing its assistance. Each                 6. “Syria Stresses Strategic Consultation with Iran,” Fars
     proxy has demanded and received its own direct                News Agency (Iran), November 14, 2006, available at
     relationship with Tehran—though there is still                www.farsnews.com/English/newstext.php?nn=85082305
     coordination among them—which places Iran at                  66 (accessed January 28, 2008).
     the center of a network that spans the Levant and is              7. Robin Hughes, “Iran and Syria Advance SIGINT Co-
     increasingly linked directly with the Iranian mili-           operation,” Jane’s Defence Weekly, October 4, 2006, avail-
     tary and economy. Whatever Tehran’s intentions                able at www.janes.com/defence/news/jdw/jdw061004_
     might have been, this is the reality Iranian actions          1_n.shtml (accessed January 29, 2008).
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                                                          2
                                                     Iraq


I  ran and its Lebanese proxy Hezbollah have been
    actively involved in supporting Shia militias and
encouraging sectarian violence in Iraq since the
                                                              manufactured with highly calibrated machine tools,
                                                              have been used by Hezbollah in Lebanon with Ira-
                                                              nian military assistance. Many of the EFPs found in
2003 invasion—and Iranian planning and prepara-               Iraq have markings that indicate that they were
tion for that effort began as early as 2002. The pre-         manufactured in Iran as recently as 2007.3 EFPs
cise purpose of this support is unclear and may have          have accounted for an increasing number of U.S.
changed over time. But one thing is very clear: Iran          casualties since October 2006.
has consistently supplied weapons, its own advisers,              The Iranian government has also exported rock-
and Lebanese Hezbollah advisers to multiple resist-           ets, sniper rifles, and mortars to enemy groups in
ance groups in Iraq—both Sunni and Shia—and has               Iraq and has provided them with trainers and advis-
supported these groups as they have targeted Sunni            ers who answer to Quds Force commanders.
Arabs, Coalition forces, Iraqi security forces, and the       Tehran’s efforts have made certain Shia militia groups
Iraqi government itself. Their influence runs from            more effective and lethal than they had previously
Kurdistan to Basra, and Coalition sources report that         been. The evidence for Iran’s extensive involvement
by August 2007, Iranian-backed violence accounted             in training “secret cells” of Shia militias has only sur-
for roughly half the attacks on Coalition forces—a            faced publicly in recent months, even though senior
dramatic change from previous periods in which the            U.S. officials have stated publicly since November
overwhelming majority of attacks came from the                2006 that the Iranian government has fueled vio-
Sunni Arab insurgency and al Qaeda.1                          lence in Iraq by providing funds and weapons, and
                                                              media reports have suggested it since 2004.4
                                                                  The Quds Force and Hezbollah have worked
                    Background                                together since 2003 to support Shia extremists in
                                                              Iraq and to develop these groups into an organiza-
The Iranian Revolutionary Guard Corps (IRGC) Quds             tion modeled after Hezbollah. Shia groups were
Force has been organizing, training, funding, and             responsible for about half of the violence in Iraq in
equipping Iraqis to fight against Coalition and Iraqi         July 2007.5 U.S. military officials estimate that the
security forces.2 Lebanon’s Hezbollah has assisted the        Quds Force provides between $750,000 and $3 mil-
Quds Force in training and organizing Shia resistance         lion worth of equipment and funding to these groups
groups since 2003 and also served as the Quds Force’s         every month. In spring 2007, U.S. and Iraqi forces
proxy in its advisory effort. The Iranian government          launched special operations within Iraq to capture the
provided substantial financial and technical support to       leaders of the Iranian-funded movement. The cam-
militias in the second half of 2006 and increased its         paign aimed to reduce the ability of Shia extremists to
support in 2007.                                              destabilize the government and security of Iraq. These
    The U.S. military has catalogued large quantities         special operations supplemented the counteroffensive
of enemy weapons in Iraq with imprints showing                against al Qaeda extremists in central Iraq. U.S. and
they were recently manufactured in Iran. In particu-          Iraqi forces have captured numerous suspects with
lar, highly lethal explosively formed penetrators             links to Iran and evidence documenting how the
(EFP), which are made from special copper disks               Iranian government supported violence in Iraq. U.S.

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     forces have publicly released some of this material,          Hezbollah also sent agents into Iraq in 2003.9 By
     which forms part of the basis for this chapter.               August 2005, Abu Mustafa al-Sheibani had developed
                                                                   an extensive “network of insurgents created by the
     The Origins of Iranian-Backed Special Groups in               Iranian Revolutionary Guard Corps with the express
     Iraq. Iran began preparing to confront American               purpose of committing violence against U.S. and
     forces in Iraq even before the invasion of 2003.              coalition forces in Iraq.”10 Sheibani’s group intro-
     According to an August 2005 article by Michael                duced into Iraq “‘shaped’ explosive charges”—used to
     Ware based on classified intelligence documents,              target U.S. military armored vehicles—based on a
     Supreme Leader Ayatollah Ali Khamenei convened a              model used by Hezbollah against the Israelis, and its
     council of war in Tehran in 2002 that concluded: “It          fighters trained in Lebanon as well as Sadr City and
     is necessary to adopt an active policy in order to pre-       “another country,” according to U.S. intelligence
     vent long-term and short-term dangers to Iran.” As            sources.11 An American military official in Baghdad
     a result, Iranian intelligence services organized the         explained that “the U.S. believes that Iran has bro-
     various Iraqi resistance groups they had been shel-           kered a partnership between Iraqi Shiite militants and
     tering under Brigadier General Qassim Sullaimani,             Hizbollah and facilitated the import of sophisticated
     the current head of the Quds Force.6                          weapons that are killing and wounding U.S. and
         Immediately after the U.S. invasion, thousands of         British troops.”12 An American Special Operations
     members of these resistance groups, primarily from            Task Force report claimed “the Lebanese Hezbollah
     the Badr Corps, moved into Iraq and attempted to seize        leadership believes that the struggle in Iraq is the
     control of various key locations in the Shiite areas.         new battleground in the fight against the U.S.”13
     Ware cited an IRGC intelligence report of April 10,           Sheibani’s group was estimated to include 280 fight-
     2003, that “logs U.S. troops backed by armor moving           ers organized into seventeen bomb-making teams
     through the city of Kut. But, it asserts, ‘we are in con-     and death squads.14
     trol of the city.’ Another, with the same date . . . claims      Tehran had a natural Shiite proxy in the Badr
     ‘forces attached to us’ had control of the city of Ama-       Corps and the Supreme Council for the Islamic
     rah.”7 Other reports confirm this view:                       Revolution in Iraq—now the Supreme Islamic Iraqi
                                                                   Council (SIIC)—but it hedged its bets from the
        In a sermon on May 2 [2003], Ayatollah Ahmad               beginning by backing Moqtada al-Sadr as well. Sadr
        Jannati, secretary general of Iran’s powerful              visited Tehran in June 2003 and was apparently
        Council of Guardians, called on Iraqis to stage            receiving funds from Grand Ayatollah Kazem
        suicide attacks to drive U.S.-led forces from              al-Haeri until October of that year when Haeri
        [Iraq]. . . . Two months later . . . coalition forces      started to cut his ties to Sadr.15 Sadr and three advis-
        uncovered a document describing a fatwa, or                ers traveled by road from Najaf to Ilam, “where Ira-
        religious edict, that had reportedly been issued           nian authorities had a 10-seat private plane waiting
        in Iran for its Shiite supporters in Iraq. The             for them.”16 In Tehran, the group met with Supreme
        fatwa urged “holy fighters” in Iraq to get close           Leader Ayatollah Ali Khamenei, former president Ali
        to the enemy—the U.S.-led troops. These fight-             Akbar Hashemi Rafsanjani, and Ayatollah Mahmoud
        ers, the fatwa said, should “maintain good rela-           Hashemi Shahroudi. The invitation to Sadr appar-
        tions with the coalition forces” but at the same           ently angered Iraqi clerical leaders in Najaf.
        time create “a secret group that would conduct
        attacks against American troops.”8                            “The marjas [the holy city’s highest leaders]
                                                                      found it offensive that Moqtada would be offi-
        The Badr Corps and Iranian agents were not                    cially invited to Iran,” says Sheik Ali al-Rubai,
     the only ones involved in training and arming an                 spokesman for one of the holy city’s four top
     anti-American Iraqi resistance under Iranian auspices.           clerics, Grand Ayatollah Ishaq Fayadh. “When

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                                                                                                                    IRAQ

   Khamenei’s representative came to Najaf [in             assassinations. Reports suggest that in fall 2003, “a
   August 2003], the marjas spoke to him in a              senior Iranian cleric in Tehran set up a special
   rough way and demanded to know why they                 100-member army, known as al Saqar, which means
   invited Moqtada.” The lavish reception was a            eagle in Arabic, to assassinate [Coalition Provisional
   particular slap to Ayatollah Mohammad Baqir             Authority director L. Paul] Bremer and carry out other
   al Hakim, a major beneficiary of Iranian sup-           terrorist attacks.” This “eagle army” apparently “had
   port for two decades. Hakim threatened to cut           trained for 30 days at an Iranian terrorist camp.”24
   ties with Tehran in protest.17                              In August 2005, Michael Ware reported:

    Hezbollah also established a long-term relation-          More sinister are signs of death squads charged
ship with Sadr, which they apparently began trying            with eliminating potential opponents and for-
to do in July 2003 and succeeded by August. At the            mer Baathists. U.S. intelligence sources confirm
end of that month, according to a U.S. intelligence           that early targets included former members of
report, “Hezbollah had established ‘a team of 30 to           the Iran section of Saddam’s intelligence serv-
40 operatives’ in Najaf in support of Moqtada Sadr’s          ices. In southern cities, Thar-Allah (Vengeance
Shi’a paramilitary group.” The report added that              of God) is one of a number of militant groups
“Hezbollah was recruiting and training members of             suspected of assassinations. . . . The chief of the
Sadr’s militia. A later report . . . said that Hezbollah      Iraqi National Intelligence Service, General
was ‘buying rocket-propelled grenades . . . antitank          Mohammed Abdullah al-Shahwani, has pub-
missiles’ and other weapons for Sadr’s militia.”18            licly accused Iranian-backed cells of hunting
Unconfirmed reports suggested that Hezbollah’s sec-           down and killing his officers.25
retary general Hassan Nasrallah had sent a senior
adviser to deliver funds to Sadr in Najaf.19 In Octo-          One former Iraqi army officer reported “that he
ber 2005, a British government official “alleged that      was recruited by an Iranian intelligence agent in
Iran had supplied explosive devices to Sadr’s Mahdi        2004 to compile the names and addresses of Min-
Army.”20 Prime Minister Tony Blair subsequently            istry of Interior officials in close contact with Ameri-
supported that assertion and “attributed the ship-         can military officers and liaisons.” The Iranians
ments to ‘Iranian elements’ or Iran’s ally, Lebanese       wanted to know “‘who the Americans trusted and
Hezbollah, acting on Iran’s behalf.”21                     where they were, and pestered [the former officer] to
    The covert nature of Iranian support for its prox-     find out if [he], using his membership in the Iraqi
ies was clear and disturbing from the outset. Iranian      National Accord political party, could get someone
intelligence services penetrated Iraq rapidly and          inside the office of then Prime Minister Iyad Allawi
thoroughly, and the thrust of their collection efforts     without being searched.” The Iranian agent “also
was “finding out what weapons U.S. troops were car-        demanded information on U.S. troop concentrations
rying and what kind of body armor they were wear-          in a particular area of Baghdad and details of U.S.
ing. Iranian agents also sought information on the         weaponry, armor, routes and reaction times.”26
location of U.S. Army and intelligence bases; on the
routes traveled by U.S. convoys; on the operations of      Hezbollah Trains Iraqis in Iran. The number and
the Special Forces’ elite Delta Force; and on the plans    quality of special groups increased in 2005 as the
of the U.S. military and intelligence inside Iraq.”22      Iranian government allowed Hezbollah to train Iraqi
The Iranians preferred not to be directly implicated       militias in Iran. The three small camps used for
in attacks on U.S. forces but instead offered bounties     training Iraqi militias were, as of summer 2007,
to Iraqis for killing Americans, shooting down U.S.        located near Tehran. Twenty to sixty Iraqis can be
helicopters, and destroying American tanks.23 Iran’s       trained at once in these facilities, and the training
proxies in Iraq also undertook a campaign of targeted      courses last from four to six weeks.27

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         The recruits were generally members of militias,     Reorganization of Special Groups with Hezbollah
     including, but not exclusively, Jaysh al Mahdi.28        as Proxy. Though the Hezbollah training of special
     They crossed the border at Zurbatiya-Mehran, usu-        groups in Iran began in 2005, the Iranian govern-
     ally unarmed and in pairs, sometimes in buses.29         ment decided to adjust the way these groups were
     Recent arrests by Iraqi army soldiers reveal one         organized. A joint Quds Force–Hezbollah effort to
     recruiting technique used by special groups in           organize these trained opposition groups into a
     Najaf, the Shia holy city where the Office of the        Hezbollah-style structure began in May 2006. The
     Martyr Sadr and other political and religious            Iranian Quds Force leadership sponsored the reor-
     organizations are well established. The director of      ganization effort by holding a meeting with Hezbol-
     a charity, the Amin Allah Cultural and Humanitar-        lah leaders Hashim and Daqduq, who traveled to
     ian Establishment, funneled funds designated for         Tehran for that purpose. In Tehran, they met with
     humanitarian use through the charity for the             Hajji Yusif, the deputy commander of the Quds
     purpose of recruiting foreign fighters, training         Force who heads its Department of External Special
     rogue Jaysh al Mahdi operatives in lethal attack         Operations. They also met with the commander.36
     tactics, and trafficking illegal weapons from Iran.30        The Quds Force instructed Daqduq “to make
     Two employees at the charity took advantage              trips in and out of Iraq and report on the training and
     of their positions to offer $500 to those who            operations of the Iraqi special groups. In the year
     would emplace improvised explosive devices (IED).        prior to his capture, Ali Mussa Daqduq made four
     These same recruiters also facilitated the training of   such trips to Iraq. He monitored and reported on the
     Iraqis in Iran and received money and weapons            training and arming of special groups in mortars and
     from Iran.31                                             rockets, on the manufacturing and employment of
         The Quds Force and Hezbollah trained Iraqis in       improvised explosive devices, and on kidnapping
     groups of twenty to sixty so that they functioned as     operations. Most significantly, he was tasked to
     a unit—a secret cell or special group. The Iraqis        organize the special groups in ways that mirrored
     returned to Iraq after their training, maintaining       how Hezbollah was organized in Lebanon.”37
     their group’s organization and knowing how “to               The Quds Force sponsored, or at least accepted,
     use EFPs, mortars, rockets, as well as intelligence,     another significant personnel change at the same time.
     sniper and kidnapping operations.”32 These special       In June 2006, just a month after the Tehran meeting,
     groups could be combined into larger organiza-           Qais Khazali became the head of special groups in Iraq
     tions. The director of the Amin Allah charity coor-      (Daqduq remained chief adviser).38 Khazali is an Iraqi
     dinated “more than 200 rogue [Jaysh al Mahdi]            who once supported the Sadrist movement. Accord-
     members” and “ordered them to conduct assassi-           ing to a Sadrist spokesman, Sadr expelled Khazali
     nations on local citizens and government officials       from his organization in 2004 because the latter gave
     who oppose the group’s illegal activities.”33            “unauthorized orders” during the battle for Najaf.39
         Hezbollah oversaw the special groups training        Khazali thus had a reputation for working with but
     effort by sending one of its members, Yussef Hashim,     undercutting Sadr. It is not clear from the open sources
     to serve as the organization’s head of special opera-    what relationship existed between Khazali and Sadr
     tions in Iraq.34 The trainer leading this effort in      during Khazali’s tenure as head of special groups.
     2005 was a Lebanese Hezbollah operative named Ali        Khazali’s relationship to Iran, however, is clear: he
     Mussa Daqduq, who had an impressive military             reported to Yusif just as Daqduq did.40
     career in that organization. He joined Hezbollah in          Some members of Iraqi special groups observed
     1983 and commanded a Hezbollah special opera-            or participated in the Hezbollah-Israel war in July
     tions unit. He coordinated both the personal secu-       2006. They traveled from Iraq to Syria to Lebanon
     rity of Nasrallah and operations in large sectors of     and worked alongside Hezbollah in groups of
     Lebanon before he came to Iran.35                        twenty to forty fighters.41

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                                                                                                                     IRAQ

Possible Aims of the Quds Force. Initially, the               political aims in Iraq and for the effect it would have
Quds Force’s goal might have been pinning U.S.                on American policy. Hezbollah in Lebanon exists
forces in Iraq rather than ejecting them. According           despite the presence of an elected government there.
to Ware, “Intelligence sources claim that Brigadier           Hezbollah uses existing government structures and
General Sullaimani ordained in a meeting of his               personnel to accomplish some of its goals, so the
militia proxies in the spring of last year [2004] that        reorganization of Iraqi special groups into a Hezbol-
‘any move that would wear out the U.S. forces in              lah-like model implies that the Quds Force might
Iraq should be done. Every possible means should              have intended the special groups to operate under
be used to keep the U.S. forces engaged in Iraq.’”42          the umbrella of Iraqi government institutions in
    In 2005 and 2006, the Quds Force’s “goal was to           order to compete with (or, indeed, effectively
develop the Iraqi special groups into a network similar to    replace) Iraq’s elected government, as Hezbollah does
the Lebanese Hezbollah. Special groups would be unable        in parts of Lebanon.
to conduct their terrorist attacks in Iraq without Iranian-       Ryan Crocker, the U.S. ambassador to Iraq, sug-
supplied weapons and other support,” according to a           gested that the Quds Force might have the goal of
U.S. military spokesman.43 The purpose of the Quds            assuring that southern Iraq remains beyond the con-
force effort, then, was to create a highly lethal network     trol of the central government of Iraq and Iraqi secu-
that relied upon the Iranian government to survive. Pre-      rity forces. In this scenario, the Quds Force might
sumably, this reorganization would increase Tehran’s          desire an end-state in which those who receive their
ability to control and influence operations in Iraq.          funding, weapons, and military training provide
    Iran and Hezbollah made these changes as the              security and services in southern Iraq and hold
current government of Iraq was being established.             political offices there. Crocker stated:
Parliamentary factions selected Nuri al-Maliki as
prime minister on April 21, 2006.44 His cabinet took             The fact that we have arrested the Lebanese
power on May 20, 2006. The Quds Force reorgani-                  Hizbollah trainer and have had many long con-
zation of the special groups into a Hezbollah-like               versations with the head of the secret cells, so
structure seems likely to have been either a deliber-            called of the Jaish al Mahdi, who has gone on at
ate Iranian response to the creation of an Iraqi gov-            length about Iranian connections, has to leave
ernment or, more specifically, to Maliki’s premiership.          you with the issue out there, is Iran intending a
The Quds Force certainly took these steps as Maliki’s            Lebanonization or a Hezbollahzation of parts of
government was forming.                                          the south. So in addition to . . . criminally
    The Quds Force might have intended to reorgan-               driven violence, you cannot rule out the pos-
ize the Iraqi secret cells into a Hezbollah-style organi-        sibility of an overlay of not just politically
zation because that military advising effort has                 directed violence but politically directed vio-
succeeded well, but it might also have intended to               lence with outside support.45
achieve goals in Iraq similar to those Hezbollah has
pursued in Lebanon. The primary goal of Hezbollah
before 2005 was to expel Israeli forces from territory        The Quds Force Advisers in Iraq. Most members of
in southern Lebanon. By extension, it seems possible          special groups are Iraqis, like Khazali, but there are
that Hezbollah and the Quds Force viewed the special          Iranian operatives in Iraq assisting the special groups.
groups as an organization well-suited to drive Coali-         Iranians tied to the Quds Force operated in Iraq
tion forces from Iraq. That would represent a change          at the end of 2006 and the beginning of 2007. U.S.
from the 2007 Quds Force strategy articulated by Sul-         Special Forces detained Mohsin Chizari, the third-
laimani, if Ware reported it correctly.                       ranking official in the Quds Force, at the Baghdad
    The Quds Force and Hezbollah might have                   compound of Abd al-Aziz al-Hakim on December
reorganized their efforts in 2006 to achieve broader          29, 2006. He and his captured colleague

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        had detailed weapons lists, documents per-                      Iranian Support for al Qaeda
        taining to shipments of weapons into Iraq,
        organizational charts, telephone records and           From the beginning, Iran did not confine its support
        maps, among other sensitive intelligence               of anti-American fighters to Shia groups. It also sup-
        information. Officials were particularly con-          ported Ansar al-Islam, a radical Sunni terrorist
        cerned by the fact that the Iranians had infor-        group with close ties to al Qaeda. U.S. and British
        mation about importing modern, specially               intelligence reports in 2004
        shaped explosive charges into Iraq, weapons
        that have been used in roadside bombs to tar-             concluded that Ansar al-Islam was working
        get U.S. military armored vehicles.46                     closely with Iran, and also al Qaeda, in its ter-
                                                                  rorist attacks against coalition forces. . . .
         These two men claimed they had diplomatic pass-          [O]ne British defense report noted pointedly:
     ports, but U.S. officials argued that they did not have      “Some elements [of Ansar al-Islam] remain in
     diplomatic immunity, as they were using aliases. The         Iran. Intelligence indicates that elements” of
     Iraqi government disagreed with the U.S. officials           Iran’s Islamic Revolutionary Guard Corps “are
     and decided to expel them.47 On January 11, 2007,            providing safe haven and basic training to
     Coalition forces detained five Iranians, without             Iran-based [Ansar al-Islam] cadres.”51
     proper diplomatic credentials, with links to the Quds
     Force in Irbil, in the Kurdish region in northeastern         A report by the Iraq Survey Group noted that a
     Iraq.48 These five Iranians have remained in deten-       source had reported “approximately 320 Ansar al-
     tion since then. The Quds Force had ties with Ansar       Islam terrorists being trained in Iran . . . for various
     al Islam terrorists in the Kurdish region before and      attack scenarios including suicide bombings, assassi-
     after the fall of Saddam Hussein.                         nations, and general subversion against U.S. forces in
         There are a significant number of Iranian advis-      Iraq.”52 Another British intelligence source “said that
     ers in Iraq. Iraqis functioned as liaisons for Iranian    Iranian government agencies were also secretly help-
     intelligence officers in the cities of Amarah and         ing Ansar al-Islam members cross into Iraq from Iran,
     Majjar al-Kabir, known havens for weapons smug-           as part of a plan to mount sniper attacks against coali-
     glers.49 Major General Rick Lynch, commander of           tion forces.”53 American sources confirmed this infor-
     the Multinational Forces Center, estimated in             mation, adding that “an Iranian was aiding Ansar
     August 2007 that the center had about fifty high-         al-Islam ‘on how to build and set up’ . . . IEDs. An
     value targets related to the special groups. Roughly      analyst for the U.S. Central Command offered this
     thirty of them are “IRGC surrogates, people that          assessment: ‘[Ansar al-Islam] is actively attempting to
     have been trained by the IRGC in Iran who’ve come         improve IED effectiveness and sophistication.’”54
     back in Iraq to conduct acts of violence.” In addi-           Iranian arms also reached Sunni insurgents west of
     tion, he said, “I believe I got some members of the       Baghdad. For example, U.S. and Iraqi forces found a
     IRGC, some Iranians, who are working in our battle-       cache containing 250 eighty-one-millimeter mortar
     space.” He believes that there were about twenty          rounds north of Abu Ghraib (west of Baghdad) on
     Iranian IRGC advisers “either training Iraqis to con-     February 3.55 Iran exports eighty-one-millimeter mor-
     duct acts of violence or conducting those acts of         tars, whereas other states in the region use and export
     violence themselves. . . . And what they do is they       eighty-two-millimeter tubes and shells.56 Sunni insur-
     transit the battlespace. They don’t come in and they      gents held the area west of Baghdad, so it is reasonable
     stay, but they’re going back and forth.”50 These          to suppose that Sunni insurgents had acquired Ira-
     Quds Force operatives seem to fill an important           nian arms no later than early February.
     advisory niche, perhaps in the wake of the capture            More recently, Iranian arms dealers have supplied
     of Daqduq.                                                new weapons to al Qaeda in Iraq. A supply of arms

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flowed from Iran into al Qaeda strongholds in             Shiite militias.67 It is logical to conclude that the EFPs
Salman Pak and Arab Jabour, presumably from the           were flowing into Doura from Arab Jabour and other
Iranian border to the south and east. From there,         points south along the Tigris.
al Qaeda transported the munitions to Baghdad.57              In early October 2007, U.S. forces conducted an
    Iranian arms became an important part of              operation in Kirkuk province, targeting a suspected
al Qaeda’s arsenal. In May 2007, both Lynch and           al Qaeda emir of foreign terrorists involved in EFP
Colonel Ricky Gibbs, commander of the 4th Brigade         attacks on Coalition Forces.68 A few weeks prior to
Combat Team, 1st Infantry Division, briefed on the        this operation, a Quds Force officer involved in EFP
use of EFPs by Sunni extremists south of Baghdad.58       trafficking was detained in Sulaymaniyah, a city in
Moreover, al Qaeda promoted an expert—whom U.S.           northern Iraq without a large Shia presence.69 These
forces killed on May 25, 200759—who knew how              incidents suggest that Iranian support is not limited
to obtain and use EFPs, showing the value that the        to special groups but rather reaches Sunni insur-
group places on that technology.                          gents across Iraq. Whatever Tehran’s intent might be,
    In June and July 2007, U.S. forces conducted tar-     it is clear that Sunni insurgents, including al Qaeda
geted raids on insurgent safe houses in Arab Jabour       terrorists, have received Iranian aid in the form of
during Operation Marne Torch, discovering caches of       sanctuary within Iran and advanced Iranian-supplied
new weapons with Iranian markings. The weapons            weapons. It is reported that some of them also
had been imported recently rather than buried or          received training in Iran.
stockpiled.60 Weapons were being stored in Arab
Jabour, indicating that it was a way station of sorts.
    From Arab Jabour, al Qaeda smuggled these new             Undermining the Iraqi Government:
Iranian weapons, along with the fighters that would            Special Group Activities in 2006
use them, into Baghdad.61 The Tigris River was their
primary supply route.62 Lynch explained, “as we           The special groups’ operations contributed directly
engage with the local population, they tell us that       to turmoil in Iraq’s central and provincial govern-
the only people on the Tigris River are extremists,       ments in 2006 and 2007. The special groups are not
insurgents. So what we’ve chosen to do is to take out     solely responsible for the political turmoil in Iraq,
all boats.”63 Colonel Wayne Grigsby Jr., commander        but they have actively undermined the Maliki gov-
of 3rd Brigade, 3rd Infantry Division, reported that      ernment from its inception.
his forces had targeted and destroyed twenty-one              The special groups contributed vigorously to the
boats during the first ten days of Operation Marne        sectarian violence plaguing Iraq in 2006. Leaders of
Torch.64 Bombing the boats often generated second-        secret cells organized and facilitated death squad activ-
ary explosions, indicating that the river craft were      ities by militia groups and government employees.
transporting munitions.65                                 They organized kidnappings of Iraqi government
    Evidence suggests that fighters and weapons           officials and workers from their ministries. They
moved from Arab Jabour into the capital’s Rashid dis-     diverted Iraqi government funds to support their
trict, in particular.66 Arab Jabour is an easy commute    operations. Many used their official positions within
to al Qaeda–held areas of Rashid, such as Doura, sug-     the government of Iraq to fund, organize, staff, and
gesting a connection between them. Gibbs reported         execute these secret cell operations.
in late May that some enemy fighters in Rashid came           The special groups also directly caused some of the
into the district from outside of Baghdad and, indeed,    personnel turmoil within the Maliki government that
from other areas of Iraq. More importantly, Gibbs esti-   prevented it from functioning in the second half of
mated that 15 or 20 percent of the IEDs his troops        2006. Some of the targeted kidnappings of Iraqi offi-
encountered were EFPs. He stated that the EFPs were       cials in spring and summer 2006 are directly linked to
being used in terrain controlled by al Qaeda, not by      secret cell leaders whom U.S. forces captured and

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     interrogated in 2007. These kidnappings removed           Martyr Sadr or to its military wing, the Jaysh al
     mid-level functionaries—often but not exclusively         Mahdi. It is not possible from the evidence pre-
     Sunni—from the central government of Iraq and             sented to conclude firmly whether Sadr personally
     from the provincial governments.                          directed Zamili’s activities in 2006 or whether Zamili
                                                               acted independently. Zamili was one of the first offi-
     Hakim al Zamili, Special Groups, Deputy Minis-            cials arrested after Sadr left Iraq in late January
     ter of Health. In June 2006, Diyala’s provincial          2007. His arrest preceded the beginning of Opera-
     director of health was the Sunni nominee for one of       tion Fardh al Qanoon, or Enforcing the Law (com-
     the deputy minister positions in the Maliki govern-       monly known as the Baghdad Security Plan).
     ment.70 He traveled to Baghdad that month for a
     meeting at the Ministry of Health with the minister       Mass Kidnappings in June and July 2006. It is
     and was kidnapped while inside the building. His          not clear from open sources which organizations—
     kidnapping was organized by Hakim al Zamili, the          government forces, militia groups, secret cells, or pri-
     deputy minister of health, whom U.S. and Iraqi            vate citizens—organized and perpetrated the mass
     forces apprehended on February 9, 2007.71 The             kidnappings that plagued Iraq in June and July 2006.
     allegations against the ministry had provoked previ-      Many of these attacks were conducted by men wear-
     ous operations by U.S. and Iraqi forces. For exam-        ing Iraqi police uniforms, but the kidnappers were
     ple, they had attempted to locate kidnap victims in       probably militia members who also worked in the
     the Ministry of Health in August 2006, but they           Iraqi security forces—or, indeed, in special groups.
     failed to find their targets.72                           Many of these June and July kidnappings targeted
         In November 2006, officials in the Ministry of        government officials rather than randomly selected
     Health were targets of kidnappings and assassina-         civilians and deserve consideration as part of the
     tions. Men in police uniforms abducted Ammar              destabilization of the Maliki government, whether or
     al-Safir, another deputy minister of health, on           not special groups were involved. Gunmen in cam-
     November 19, 2006.73 Two days later, roadside             ouflage uniforms seized three busloads of factory
     bombs in eastern Baghdad wounded two guards in            workers on their way home from a government-
     the convoy for Minister of State Mohammed Abbas           owned industrial plant in Taji on June 22, 2006.76 In
     Auraibi. And on that same day, gunmen fired on            early July, gunmen kidnapped individuals working
     Zamili’s convoy in Baghdad, killing two of his secu-      for the government of Iraq, including the minister of
     rity guards.74 All three men were Shia officials in the   electricity (who was released) and his bodyguards; a
     Iraqi government. The U.S. military has not indi-         female Sunni legislator and her bodyguards; and a
     cated whether Zamili and his secret cell were com-        consular official who was on leave in Baghdad from
     plicit in the November kidnapping of his colleague.       his routine diplomatic assignment in the Iranian city
     Nor have they indicated whether the assassination         of Kermanshah.77 On July 16, gunmen in police uni-
     attempt against him was a reprisal for that or any        forms and using official vehicles kidnapped the head
     other action. Zamili used resources of the Ministry       of Iraq’s olympic committee and approximately thirty
     of Health—such as ambulances—to transport                 other sports officials while they attended a conference
     weapons, death squads, and their victims between          in the Karrada neighborhood in eastern Baghdad.78
     Sadr City and other locations in Baghdad. Zamili
     allegedly paid the death squad members by includ-         Azhar Dulaymi, Special Groups, and the Kidnap-
     ing them on the payroll of the Ministry of Health.75      pings of Iraqi Officials and U.S. Soldiers. On
         As part of the parliamentary compromise that          November 15, 2006, a secret cell organization kid-
     brought Maliki to power, the minister of health has       napped numerous employees of the Iraqi Ministry of
     been appointed by the Sadrist bloc. Many employ-          Higher Education from its headquarters in Karrada.
     ees in that ministry have ties to the Office of the       The kidnapping garnered major public attention

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because of its scale and its contribution to unrest       Khazali, Laith Khazali, and Daqduq were leaders of a
within the Iraqi government, culminating in the with-     network deliberately developed by the Iranian gov-
drawal of Sadrist members from the Iraqi Council of       ernment to foment violence in Iraq. The U.S. military
Representatives on November 29, 2006.79 Secret cell       spokesman in Baghdad released a file early in July
operative Azhar Dulaymi, whom U.S. forces killed          reproducing some of these documents.86
during a raid on May 20, 2007, coordinated this              The Multi-National Force–Iraq reported:
operation.80 Differing reports suggest that between
fifty and eighty gunmen, all in police uniforms,             When Qais [Khazali] was captured, we found
stormed past security guards within the ministry             an in-depth planning and lessons learned
compound. The gunmen separated male and female               document. It was about the attack the special
employees, locked the latter in a room, and loaded           groups coordinated against the Karbala Provin-
the former into roughly thirty Interior Ministry trucks      cial Joint Coordination Center on January 20th.
without license plates.81 U.S. officials estimated that      This 22-page document provides a unique win-
fifty-five people had been kidnapped; they believed          dow into the planning and execution of special
that the abductors took their victims to the Belidiyat       group operations here in Iraq. . . . Ali Musa
neighborhood on the southeastern fringe of Sadr              Daqduq and Qais Khazali state that senior lead-
City.82 Approximately forty of the hostages were             ership within the Qods Force knew of and sup-
released by the kidnappers or rescued by the Iraqi           ported planning for the eventual Karbala attack
Army within twenty-four hours.83 In addition, Maliki         that killed five coalition soldiers. Ali Musa Daq-
immediately ordered the arrest of several police offi-       duq contends that the Iraqi special groups
cials in Karrada, presumably for complicity in the plot      could not have conducted this complex opera-
(or, alternatively, for incompetence).84                     tion without the support and direction of the
    Dulaymi organized other high-profile kidnap-             Qods Force. Daqduq and Khazali both confirm
pings executed by members of special groups. He              that Qais Khazali authorized the operation, and
participated in the January kidnapping of U.S. sol-          Azhar al-Dulaimi, who we killed in an opera-
diers from the Provincial Joint Coordination Center          tion earlier this year, executed the operation.
in Karbala, where a small U.S. team worked with                  The document that we captured showed the
Iraqi security forces. Operatives entered the center         following. It showed that the group that
unopposed in a convoy of civilian vehicles, wearing          attacked the Provincial Joint Coordination Cen-
components of American military uniforms, and                ter in Karbala had conducted extensive prepa-
stormed into rooms where the U.S. soldiers were              ration and drills prior to the attack. Qods Force
working. They ultimately killed the five American            had developed detailed information regarding
soldiers whom they attempted to kidnap.85                    our soldiers’ activities, shift changes and fences,
                                                             and this information was shared with the
                                                             attackers. They had American-looking uni-
    U.S. Forces Capture Qais Khazali,                        forms, vehicles and identification cards that
   Laith Khazali, and Ali Mussa Daqduq                       enabled the attackers to more easily penetrate
                                                             the Provincial Joint Coordination Center and
U.S. forces captured Qais Khazali, Laith Khazali, and        achieve surprise. [It] reported that the captured
Daqduq in a single operation on March 20, 2007, in           soldiers were killed when the attackers’ disper-
Basra, Iraq’s southernmost city. The three obviously         sal from the site was interrupted.87
worked together on occasion. U.S. forces also confis-
cated a computer, false identification cards, and            U.S. forces exploited the intelligence gained in
diaries in the raid. From these documents and sepa-       these documents and from interviews with the cap-
rate interviews, U.S. forces confirmed that Qais          tives to identify significant secret cell leaders and

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     members of the weapons smuggling network. The                sale in the open markets, RPG-7s, sixty-millimeter
     affiliated kills and captures included secret cell           canisters filled with Iranian-manufactured mortar
     leader Abu Zaki; Dulaymi, the executor of the Min-           rounds, and 240-millimeter rockets.97
     istry of Health and Karbala attacks; Abu Tiba, one of            In addition, earlier in 2007, American troops dis-
     Dulaymi’s gang members;88 Al Hilfi, the head of              covered over one hundred Austrian-made Steyr HS50
     secret cells in Baghdad;89 Sheik (Ahmed) Moham-              .50 caliber sniper rifles in Iraq.98 These high-powered
     mad Hassan Sbahi Al Khafaji, who supplied                    sniper rifles, which fire Iranian rounds, “can pierce all
     weapons to Baghdad;90 and many others.91                     body armor from up to a mile and penetrate armored
                                                                  Humvee troop carriers.”99 The rifles were part of a
                                                                  larger shipment legally purchased from the Austrian
          Arming the Secret Cells with EFPs                       manufacturer by Iran a year before under the justifi-
                and Other Weapons                                 cation that they would be used by the Iranian police
                                                                  to combat drug smugglers.100 Although eyebrows
     A variety of Iranian weapons flowed into Iraq through        were raised in both Washington and London at the
     direct purchases from the government of Iran. Coali-         time, the sale went through, and the weapons were
     tion forces first noticed that enemy groups were using       shipped to Iran.101 The presence of these weapons
     EFPs in Iraq in the middle of 2004. The number of            shows a high level of sophistication in the Iranian
     EFPs used against Coalition and Iraqi forces rose “at a      arms flow into Iraq, as the purchase was made offi-
     rate of 150 percent” between January 2006 and                cially by the Iranian government.
     December 2006 and increased every month from
     November 2006 through January 2007.92 Weapons                The Special Groups Network Transit Routes for
     were typically smuggled from Iran to Iraq, and the           EFPs and Other Weapons from Iran. The network
     Quds Force played a role in that process.93                  of special groups transports EFPs along the major
         The training alliance between Hezbollah, Iran, and       highways to Baghdad via Iranian border crossings in
     Shiite militias corresponds, temporally, with the            Diyala and Wasit provinces. Most of these routes
     increased use of EFPs in Iraq. The timing is probably        were not patrolled by Coalition forces in 2006, and
     not coincidental. As discussed in Chapter 1, Iran            the mission of Coalition forces in 2006 did not regu-
     originally manufactured EFPs for Hezbollah. Copper           larly include interdiction operations but rather
     EFPs require a great deal of metallurgical and techno-       focused on training Iraqi security forces for these and
     logical precision to manufacture. Consequently, they         other missions.
     cannot be made without specific machinery, access to             In Wasit province, EFPs, weapons, recruits for
     which the Iranians have controlled. Sheibani has sup-        special groups, and smuggled goods flowed through
     plied EFPs to Iraq since 2005, if not earlier.94 His rela-   the major border crossing between Mehran, Iran,
     tive, Abu Yasier al-Sheibani, served as “the deputy, the     and Zurbatiya, Iraq.102 Iranian trucks did not trans-
     key logistician and financier for this group in Iraq.”95     port weapons into Iraq through Zurbatiya. Rather,
     The Sheibanis relied on a network within Iraq to dis-        goods and weapons were transloaded from Iranian to
     tribute EFPs to special groups and other extremists,         Iraqi trucks near the border.103 Legitimate commer-
     concentrating on Baghdad. Some smugglers in these            cial traffic also crosses the border at Zurbatiya, as do
     distribution networks had direct connections to the          religious pilgrims and political figures—such as
     Quds Force.96                                                Amar al-Hakim, now head of the SIIC, a major politi-
         Other weapons smuggled from Iran to Iraq in              cal party in the Maliki government—with ties to
     2007 included: eighty-one-millimeter mortars                 Iran.104 The city of Kut, just to the west along the
     (again, the remainder of the region uses eight-two-          highway, has strong ties with the SIIC and its military
     millimeter mortars), repainted 107-millimeter rock-          wing, the Badr Corps.105 Kut is also the hub of the
     ets imported into Iran from China and marked for             road and smuggling network from the Iranian border

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to Baghdad.106 The road from Mehran runs through                       The Quds Force in Diyala
Kut, as does the road from Amarah. U.S. forces con-
ducted a series of operations this summer to interdict       The Quds Force responded to the surge of U.S.
the smuggling of Iranian weapons from Amarah to              troops in Iraq by escalating its support for special
Sadr City.107 And Iraqi security forces, with the help       groups in central and southern Iraq. Daqduq
of Coalition troops, conducted operations in Kut             recorded information about attacks in Basra, Ama-
against rogue elements of the Jaysh al Mahdi.108             rah, Karbala, the Rusafa neighborhood of Baghdad,
    Basra might be another point of entry for Iranian        and Diyala.116 The special groups also increased
arms and weapons. Certainly, there is evidence of            attacks in other neighborhoods of Baghdad. It is not
the trafficking of weapons along the roads out of            possible to detail every such incident, but Diyala
Basra to Amarah and Nasiriyah.109 In mid-June,               province, northeast of Baghdad, is an interesting case
Nasiriyah was the site of a firefight between Iraqi          study of the special groups’ reaction to the American
forces and the Mahdi Army.110 On June 27, 2007,              troop increase in both February and August 2007.
Iraqi special forces destroyed a weapons cache                   Jaysh al Mahdi operated in Diyala in 2006 because
belonging to rogue Jaysh al Mahdi militiamen.111             of the mixture of sectarian and ethnic groups there;
Among the weapons destroyed were thirty sixty-               the al Qaeda stronghold that emerged in Baqubah, the
millimeter mortar rounds, a weapon known to be               capital of Diyala; and the region’s proximity to Bagh-
Iranian in origin.112 A day later, Iraqi special forces      dad. Diyala suffered from sectarian cleansing and ter-
captured “a rogue Jaysh al-Mahdi insurgent leader            rorism in 2006. The targeting of Shiite militia
during an operation in Nasiriyah.”113 The man cap-           elements during the Baghdad Security Plan did not
tured, later identified as Khafaji, is suspected of hav-     push Jaysh al Mahdi fighters into Diyala. Rather, they
ing “provide[d] financial support to weapons                 were already active in the province, and the special
trafficking networks which supply Iranian affiliated         groups actively targeted Coalition and Iraqi forces in
Special Groups units in the Baghdad area.”114                Diyala province in March, April, and May by rein-
    Cities like Majjar al-Kabir and Amarah in Maysan         forcing the area and supplying it with weapons.
province—places known to be “smuggling routes                    The special groups in Diyala received direct
for Secret Cell terrorists who facilitate Iranian lethal     attention from the Quds Force proxies in Iraq. Some
aid” as well as safe havens for “liaisons for Iranian        time before March 20, 2007, Daqduq met with lead-
intelligence operatives into Iraq”—were the target of        ers of special groups who conducted small arms and
disruption operations in mid-June.115 Weapons and            IED attacks against troops in Diyala, presumably to
aid entering these towns near the Iranian border             review their activities.117 His visit shows the impor-
must still travel through the heavily Shia central five-     tance of Diyala to the special groups.
city region before reaching Baghdad, increasing the              This spring, the conflict in Diyala consisted of a
violence in the south.                                       struggle between the Jaysh al Mahdi, al Qaeda, and
    Kut, Diwaniyah, Hilla, Karbala, Najaf, Musayyib,         U.S. forces to control the lines of communication to
Mahmudiyah, Iskandaria, Mahawil, and numerous                Baghdad. Special groups and rogue Jaysh al Mahdi
other sites of sectarian violence or Shiite militia bases    moved into areas of Diyala as al Qaeda receded from
all lie between Nasiriyah and Baghdad. The fight for         its stronghold in Turki Village and reconcentrated in
these cities is likely the fight for control of main Jaysh   Baqubah, Tarmiyah, and the Diyala River Valley.118
al Mahdi supply routes and bases of operation.                   Iranian weapons were smuggled into and
    Iranian weapons and trained terrorists enter Iraq at     through Diyala Province in the first quarter of 2007.
key border crossings. Although the exact mechanism           U.S. and Iraqi forces worked to discover the pattern
of supply remains unclear, Iranian arms are moved via        by which they were smuggled, interdict the flow of
extensive networks, and often the so-called secret           weapons, and identify the smugglers who were
cells are responsible for facilitating their transfer.       responsible for this activity.119

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         Two insurgent supply lines traversed Diyala in         Balad Ruz. This operation detained four suspects and
     February, March, and April 2007. One ran from Iran         captured a large ammunitions cache.124 These types
     through Muqdadiyah into northern Baqubah (a pre-           of operations generally signal the presence of U.S.
     dominantly Shiite area) and another through Man-           Special Forces in the area. And all of these factors
     dali to southern Baqubah or Buhriz (which Sunni            suggest that this operation aimed to interdict
     insurgents have controlled). Rogue Jaysh al Mahdi          weapons-smuggling across the Iranian border.
     or other Shiite extremists might have controlled              Because al Qaeda had been the primary enemy
     both supply lines. Alternatively, one sectarian group      in Balad Ruz in January 2006, the Iraq Report pre-
     (perhaps the Jaysh al Mahdi) controlled the supply         viously speculated that Iran was supplying these
     line from Muqdadiyah to northern Baqubah, and              weapons to al Qaeda.125 But U.S. forces subse-
     another controlled the supply line from Mandali to         quently stated that they suspected these were
     Buhriz. Sunni extremists established bases and             linked to Shiite extremists rather than to al Qaeda.126
     training camps about halfway along both of these           We now know that secret cell networks in Diyala
     supply routes, suggesting that they aimed either to        were being reviewed by the Quds Force proxy
     cut them or facilitate the movement of weapons             before March.127 The Mandali caches seem, there-
     along them.                                                fore, to have been brought by the special groups
         Facilitators from Iran and northern Iraq supplied      network for its own use, in order to escalate the
     weapons and men to the province from February              fight against Coalition forces in Diyala or in Bagh-
     through April 2007. When the Baghdad Security              dad in February.
     Plan began on February 14, U.S. and Iraqi forces              Indeed, the special groups in Baghdad did rely on
     closed certain border crossings into the country for       weapons stored in and distributed from Diyala
     seventy-two hours.120 On February 17, Iraqi border         province. This became clear in August when Coalition
     enforcement officials discovered an unattended don-        forces captured an important facilitator near Qasarin,
     key with a cache of weapons near the Iranian bor-          on the Tigris River in Diyala, whose responsibilities
     der.121 Presumably, smugglers had used the animal          included distributing EFPs and other “weapons to
     to carry weapons to that location or were intending        Special Groups operating throughout the Baghdad
     to use the animal to carry weapons from that loca-         area.” This weapons smuggler made “numerous” trips
     tion. On February 21, Iraqi border police found a          to Iran, where he apparently had “ties to the Iranian
     large cache of weapons east of Balad Ruz in Mandali,       Revolutionary Guards Corps–Quds Force.”128
     a town that sits on the secondary road that follows           The Khalis corridor, in western Diyala province,
     the mountains dividing Iran and Iraq and is an obvi-       also served as a main supply route and safe haven
     ous point on a smuggling route from the legitimate         for Iranian-backed special groups. U.S. forces
     border crossing to its north at Khanaqin. The cache        found a huge cache in Al Jadidah on February 24,
     contained antipersonnel mines, mortar rounds,              2007, that contained 130 copper disks for the fab-
     ammunition, and a rocket-propelled grenade.122             rication of EFPs, a hallmark of Iranian-backed
     Iraqi forces, supported by U.S. forces, discovered         groups.129 This town is conveniently located on the
     another cache near Mandali on April 4.123                  east bank of the Tigris River along the highway
         In the early morning hours of April 4, Iraqi forces,   from northeastern Baghdad to Khalis—convenient
     with U.S. support, conducted a sweep of a site in          to both lines of supply.130 In addition to the 130
     Imam al-Hajj Yusuf Village, a town 5.25 miles south-       EFP disks, the cache contained improvised mines in
     west of Mandali, on the eastern edge of the well-          various states of production, containers for making
     irrigated Diyala plain. The village is not far from the    IEDs, five anti-aircraft rounds, six rocket launchers,
     mountains near the Iranian border. A small road con-       IED-making materials, twenty-four mortar rounds,
     nects the village with Mandali and another route           and fifteen rockets.131
     leads back toward the main east-west road toward              In late July, U.S. and Iraqi forces pursued special

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groups members through the Khalis and Qasarin                      Special Groups in Baghdad:
areas.132 Coalition forces engaged in a firefight with              Mortaring the Green Zone
twenty-five men west of Baqubah on October 5
while attempting to apprehend a special groups           Special groups, trained and equipped by Iran, esca-
leader who facilitated the transportation of weapons     lated the number of mortar and rocket attacks
from Iran into Iraq. That particular group was suffi-    against targets in the Green Zone throughout the
ciently well organized and trained to remain in          spring of 2007. The accuracy of this indirect fire
defensive positions as U.S. forces arrived, then         improved as a result of the training they received in
maneuver from the positions to attack, supported by      Iran and the quality of weapons with which they
anti-aircraft weapons that were used against Coali-      were supplied. Lieutenant General Ray Odierno
tion air support.133                                     reported in June, “We have found a few people that
   Special groups interacted with criminal net-          were Shi’a extremists that . . . had some training in
works in Khalis and Qasarin.134 East of the Diyala       Iran—those mostly being the mortar and rocket
River, individuals with close ties to the Quds Force     teams inside of Baghdad. . . . [T]hey were trained in
facilitated the movement of weapons in Kharnabat,        Iran and came in here to conduct attacks against not
just north of Baqubah, in July.135 U.S. forces also      only Coalition and Iraqi security forces, but govern-
found several large EFP caches south of Baqubah in       ment of Iraq targets inside of the Green Zone.”140
October and November.136 Between February and                Major General Joseph Fil, commander of Coali-
November, special groups might regularly have            tion forces in Baghdad, elaborated further, explaining
transported weapons from Iran and stored them in         that most of the rocket and mortar attacks originate
depots along the banks of the Tigris and Diyala          from Sadr City or its environs, and most of the rock-
rivers. Alternatively, special groups emplaced           ets and mortars are recently made Iranian weapons:
weapons there in February and reactivated the sup-
ply lines and headquarters through southern                 [M]uch of the indirect fire that we receive,
Diyala as Operation Arrowhead Ripper and its suc-           especially that which is pointed at the Interna-
cessors dislodged al Qaeda from the area.                   tional Zone, the Green Zone, is in fact Iranian.
   As U.S. and Iraqi forces pushed northeastward            And when we check the tail fins of the mortars,
along the Diyala River in late 2007, other units tar-       when we find the rockets—and frequently
geted the special groups and other Shiite extremists        we’re able to find them preemptively, before
in the southern portion of the province. In late            they actually launch . . . there’s no doubt that
September, U.S. forces arrested the special groups          they’re coming out of Iran. Most of them are
leader linked to the large cache found in Khan Bani         made fairly recently, in the past several years,
Saad in February. The suspect was responsible for           and they have lot numbers that we can . . .
the smuggling network north of Baghdad, includ-             trace later on. I’ll also say that most of these are
ing facilitating foreign fighters and training mili-        coming from the eastern side of the river, by far
tants in bomb-making.137 U.S. forces arrested               the majority, in and around the Sadr City area.
special groups members in Qasarin—including a               And so we focused our efforts very strongly
facilitator who made multiple trips to Iran—who             into discovering where these areas are that
smuggled weapons and aided rogue elements of                they’re frequently shooting from and denying
the Jaysh al Mahdi.138 A large firefight erupted            those [areas to the enemy].141
between U.S. forces and a special groups cell west
of Baqubah, terrain that lies in the Khalis corri-           Odierno said, “I do concern myself, over time,
dor.139 The arrest of extremist militia members and      about the Iranian influence on Shi’a extremist groups
special groups members throughout October also           and what that means in the future. And we cannot
mitigated the tensions.                                  allow this rogue Iranian influence to continue to

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     influence, in my mind, and in many ways attack the          in Hurriyah in Baghdad to rebuff the attempt of the
     government of Iraq. Many of these indirect fire             Golden Mahdi Army.146 The results of these con-
     attacks that these groups have done are directly            flicts are not clear.
     against the government of Iraq in the Green Zone. So            General David Petraeus emphasized that secret
     they’re clearly challenging the government. . . . We        cells are “different” from Jaysh al Mahdi—unlike the
     cannot allow that to continue.”142                          standard militiaman in the Mahdi Army, the secret
                                                                 cells “have had extra training and selection,” the
                                                                 training being conducted by the Quds Force.147
     The Relationship between the Secret Cells                   These secret cells function as enablers, facilitating
          and the Jaysh al Mahdi in 2007                         Iranian support for the Jaysh al Mahdi and coordi-
                                                                 nating continued attacks. Sadr City is the support
     The secret cells function alongside the Jaysh al            base for secret cells, Jaysh al Mahdi, and many rogue
     Mahdi and other militia groups in Iraq. They are not        Jaysh al Mahdi militias within Baghdad. These net-
     identical but are overlapping groups. “They come            works overlap extensively.
     from militia groups, and they are generally the more            A militia commander seized in Najaf illustrates a
     extreme members of those militia groups. Some of            common relationship between the current special
     them have come from Jaysh al-Mahdi. Some have               groups and the Jaysh al Mahdi organization. “The
     come from other militia groups as well,” said               former commander’s Jaysh al-Mahdi cell is suspected
     Brigadier General Kevin Bergner, a U.S. military            of conducting aggressive insurgent attacks using
     spokesman.143 Bergner stressed, “While some of these        explosively formed penetrators throughout southern
     people may have come from or been affiliated with           Iraq during late 2005 and early 2006. After leaving
     Jaish al-Mahdi at one point—and these special               Jaysh al-Mahdi, he allegedly formed an independent
     groups were an outgrowth, perhaps, of relationships         cell of more than 150 Shi’a extremists that is believed
     with Jaish al-Mahdi—they have in fact broken away           to have conducted attacks on Iraqi and Coalition
     from Jaish al-Mahdi.” Furthermore, “they are cellu-         Forces.”148 U.S. forces captured another extremist in
     lar in nature. . . . We believe that these [special         Sadr City who broke from Jaysh al Mahdi, ran his
     groups] are operating outside his [Sadr’s] control          own cell, and had ties to weapons provided by spe-
     and that he shares our . . . concern in the serious-        cial groups.149
     ness that they represent.”144
         The Jaysh al Mahdi fractured this spring. Sadr
     publicly ordered his militias not to fight Iraqi secu-                         Conclusions
     rity forces during the Baghdad Security Plan. As a
     result, the Maliki government declared that all mili-       There can be no question that Iran is actively sup-
     tia groups that fought the Iraqi security forces were       porting multiple insurgent and terrorist groups in
     “rogue elements” and therefore were subject to mili-        Iraq, that its efforts began even before the American
     tary targeting. Clashes between Iraqi security forces       invasion, that Iranian elements have included the
     and rogue militia elements occurred in Diwaniyah in         provision of direct support in the form of weapons
     March and Amarah in June.                                   and advisers, and that they have involved facilitating
         When Sadr left Iraq for Iran in late January, it fur-   the growth of a solid relationship between Lebanese
     ther undermined the leadership structure of the             Hezbollah and Iraqi Shiite militias, particularly the
     militia. In May, the Golden Mahdi Army, a Najaf-            Jaysh al Mahdi. Iranian agents and proxies in Iraq
     based group that claimed to be dispatched by Sadr,          have attacked Iraqi government officials in Baghdad
     attempted to cleanse the Jaysh al Mahdi of rogue            and in the provinces, suggesting that their aims do
     elements not responsive to Najaf.145 Local groups,          not include supporting or solidifying the democrati-
     calling themselves the Noble Mahdi Army, emerged            cally elected, Shiite-dominated government of Maliki.

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They have been lavish with their support to all groups        available at www.usnews.com/usnews/news/articles/
engaged in violence against the Coalition—including           041122/22iran.htm (accessed January 31, 2008). The arti-
Sunni groups with ties to al Qaeda—and they have              cle notes that U.S. intelligence sources could not confirm
supported a number of different Shiite groups even            that the fatwa had come from Iranian clerics, “but they
when they are in competition with one another.                believe it was credible.”
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of War.                                                         10. Michael Ware, “Inside Iran’s Secret War for Iraq.”
                                                                11. Ibid. Ware did not use the term explosively formed
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might operate in Iraq, but he did not specify what those        24. Ibid.
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                                                                                                                       IRAQ

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                                                             3
                                                Afghanistan


I  n 2007, Iran offered economic, social, and cultural
   assistance to Afghanistan; pressured Kabul over
Afghan refugees and migrant workers in Iran; lent lim-
                                                                 changing power relations within Afghanistan and
                                                                 between Iran and Afghanistan in important ways.
                                                                     Iran had been hostile toward the Taliban regime,
ited military support to the Taliban and possibly other          just as it had been toward the Soviet-installed and
insurgent groups; tried to develop a deep bilateral rela-        backed Afghan governments of the 1980s and early
tionship between Tehran and Kabul; attempted to cre-             1990s. Iran had accepted millions of Afghan refugees
ate a gap between Kabul and the West; and possibly               but had supported insurgent groups in Afghanistan
tried to destabilize the government of Hamid Karzai.1            and avoided any serious effort to establish or expand
Taken together, these activities constitute what might           economic ties with regimes it saw as its foes. The
be a deliberate strategy on Afghanistan for Tehran,              collapse of the Taliban regime in fall 2001 changed
although there is no direct evidence to prove that Iran          Tehran’s attitude profoundly. It appears that Iran
is following such a strategy. Whatever Iran’s purposes           actively assisted the United States in bringing down
might be, however, the effects of its various undertak-          that regime and was initially helpful in the creation of
ings in Afghanistan are clear: the creation of a buffer          a new government in Afghanistan.2 Then-president
zone of the three western provinces of Herat, Farah,             Mohammad Khatami visited Kabul in August
and Nimruz, which are tied increasingly to Tehran                2002—the first such high-level visit in forty years.
rather than to Kabul; the intimidation of Afghanistan’s          Trade agreements followed in January 2003, includ-
government in confrontations with Iran; and the hin-             ing efforts to replace Karachi with the Iranian port of
drance of Coalition efforts (which are halting in any            Chabahar as Afghanistan’s principal trade outlet.
event) to develop and implement a coherent country-              Iran offered Afghanistan a 90 percent discount on
wide strategy.                                                   duties and tariffs for goods exported through the
                                                                 Chabahar free trade zone.3 Iranian-Afghan trade
                                                                 grew from less than $10 million in 2001 to $500
Economic, Social, and Cultural Assistance                        million in 2006.4 By mid-2007, Iran had extended
                                                                 more than $500 million in credits to Afghanistan, at
Iran’s assistance to Afghanistan is unquestionably               least half of which were in grants.5
significant. Since it is natural for a large and wealthier           Some of Iran’s assistance was general support to
state to assist and develop an impoverished and war-             Afghan reconstruction. In June 2006, Tehran prom-
torn state on its border, or for any state to try to             ised to build two fifty-megawatt electrical power sta-
expand commercial relations with its neighbors,                  tions to supplement Kabul’s electrical supply (then
Iran’s activities in these areas have aroused little             around 150 megawatts) at a cost of around $80 mil-
comment and even some praise. Nor is it possible to              lion.6 Iran provided nearly $2 million to assist the
draw a line between normal economic activity and                 Afghan Independent Administrative Reforms and
an economic strategy intended to affect power rela-              Civil Service Commission to train government offi-
tions. In the broader context of Iran’s activities in            cials in Kandahar, Herat, and Kabul in 2006 and
Afghanistan, however, its economic efforts are creat-            2007.7 Iranian support helped build a communica-
ing a set of incentives and disincentives that operate           tions institute; provide training for postal employees;
powerfully on the Afghan government and that are                 rebuild the medical department at Kabul University;

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     establish “the first national teacher training centre,      Kabul. An October 2007 report noted that the aver-
     construction of a centre for religious affairs, provision   age transit time for cargo from Kabul to the Pakistani
     of education scholarships, construction of a voca-          and Uzbek borders is around nineteen days but that
     tional training centre,” and a program to “send experts     it takes nearly one hundred days for passage from
     to train Afghan teachers”; and help “Afghan teachers        Kabul to the Iranian border.17 And it goes without
     from religious seminaries and schoolteachers . . . [to]     saying that modern road and rail links between
     be sent to Iran to get training.”8 The Iranian company      Herat, Farah, and Zaranj and the Iranian border cities
     Shaheedi Qandi joined forces with an Indian firm to         will be much faster—it is nearly 650 miles from
     add 150,000 telephone lines in Kabul, Kandahar,             Kabul to Herat along the “ring road,” while Herat is
     Mazar-e Sharif, Jalalabad, and Kunduz.9 Iran also           75 miles and Farah 120 miles from the Iranian bor-
     signed a number of memoranda of understanding               der. Zaranj is right on the border. When the relative
     and formal trade agreements with Afghanistan, and           security of travel between Afghanistan’s western
     both countries hoped that trade would double to             provinces and Iran compared to travel on Afghani-
     $1 billion in 2008.10 The combined $1 billion in Ira-       stan’s ring road is considered, the difference is even
     nian trade and aid are extremely significant for a coun-    greater. A relatively small amount of highly targeted
     try whose 2006 GDP was a little over $8 billion.11          infrastructure aid is binding Afghanistan’s west closer
         In addition to this general aid, Iran has also pro-     to Iran than to Kabul.
     vided targeted assistance to the border provinces of            Tehran has also been helping to link western
     Herat, Farah, and Nimruz. The most visible forms of         Afghanistan to the Iranian power grid and to upgrade
     aid have been in electricity and transportation infra-      the electrical capacity of the western provincial capi-
     structure, with many projects seemingly intended to         tals generally. In 2004–2005, Iran gave Afghanistan
     draw Afghanistan’s western border areas closer to the       $13 million to install an electric substation in Herat.
     Iranian economy. Thus Iran, Afghanistan, and some-          In January 2007, an Iranian-funded thirty-megawatt
     times international partners have been hard at work         transformer began operating in the Ghurian district of
     on road and rail links between the two countries. In        Herat province (at a cost of $2 million), and Tehran
     early 2006, the construction of a highway between           has promised another such plant in the area soon.18
     Dilaram and Zaranj (the capital of Nimruz) was              In May 2007, Tehran constructed a power line
     announced.12 A year later, Iran and Afghanistan             between Herat and Iran and promised to begin sup-
     unveiled a project to link Mashhad (a major city in         plying electricity to Farah province.19 Again, the scale
     northeastern Iran) with Herat city by rail. Iran prom-      of the effort is relatively small, but the effects on the
     ised to pay 60 percent of the project’s cost.13 Shortly     western part of an impoverished and war-devastated
     thereafter, Iran announced its intention to build cus-      country are not to be discounted.
     toms offices and warehouses in Farah city, along with           All of these efforts are in line with Afghanistan’s
     ninety kilometers of paved road connecting the facil-       National Development Strategy20 and parallel efforts
     ities to the city.14 In August 2007, Iranian president      by Afghanistan’s other neighbors to improve trans-
     Mahmoud Ahmadinejad announced on a visit to                 portation and electrical links with Afghanistan. The
     Kabul that Tehran would build a 110-kilometer road          Afghan railway development strategy, in fact, priori-
     from Farah city to the Iranian border area of Mailak.15     tizes “linking major border provincial capitals to the
         Although a few hundred kilometers of road and           neighboring countries” ahead of “linking major
     rail does not seem very significant, it is to a country     Afghan cities, with a focus on improving transit time”
     nearly the size of Texas that had only around 8,300         and “facilitating the connection between European,
     kilometers of paved roads in 2004.16 The net result         Central Asian and South Asian railway networks.”21
     of this construction will be to link the provincial cap-    The Iranian efforts are more advanced than those of
     itals (which are also the major cities) of Afghanistan’s    most of Afghanistan’s other neighbors. Work has
     three western provinces more closely to Iran than to        already begun, for example, on the Mashhad-Herat

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                                                                                                       AFGHANISTAN

railway even though the remaining 40 percent of the         War against the Soviets throughout the 1980s cre-
funding has not yet been identified.22                      ated more refugees. Civil war and the Taliban during
    The purpose of this discussion is not to question       the 1990s created still more. The great majority of
the economic wisdom of Afghanistan’s planners or the        these refugees fled to Pakistan and Iran, where many
international community, or even to ascribe motives to      have remained for decades. The collapse of the Tali-
the Iranian regime. Iran is a larger and wealthier coun-    ban and the rise of an internationally supported and
try than any of Afghanistan’s other neighbors, and the      protected representative government have reversed
Afghan-Iranian border region has been generally more        this flow. Reports suggest that as many as 4 million
secure than the Afghan-Pakistani border and even            Afghans may have returned from abroad already.25
than some of Afghanistan’s northern frontiers. The          There are still nearly a million Afghan refugees in
result, however, is that Iran is absorbing western          Iran, however, and slightly more in Pakistan.26
Afghanistan into its economic orbit far faster than             In principle, the refugees themselves are not a
Pakistan, Tajikistan, Uzbekistan, Turkmenistan, and         problem in Iranian-Afghan relations. The problem
China are integrating the Afghan provinces on their         stems from the perhaps 1.5 million Afghan migrant
borders—faster even than Afghanistan is integrating         workers in Iran, many if not most of whom lack work
its own regions and cities into an economic unit.           or residence permits.27 Iranian officials at many levels
    Iran’s support for Afghanistan’s religious and edu-     have identified the usual litany of problems caused by
cational programs suggests that this outcome might          illegal immigrants: strains on the Iranian school
not be entirely unintended. Not only has Iran offered       system, migrant workers taking scarce jobs away from
to send Iranian teachers to Afghanistan and bring           Iranians, violence and insecurity, and narcotics traf-
Afghan teachers and clerics to Iran for training, but       ficking, among others.28 Although these problems are
Tehran has also initiated a program to encourage the        most prevalent in the Iranian provinces bordering
teaching and learning of Farsi in Afghanistan—even          Afghanistan (Sistan and Baluchistan, South Khorasan,
in areas beyond the western border provinces.23 Ira-        Razavi Khorasan, and North Khorasan), Iranian
nian leaders and media frequently refer to the close        officials in Tehran, Esfahan, and elsewhere have com-
cultural ties between the two states, and Afghan lead-      plained about Afghan migrant populations.29 Since
ers sometimes reciprocate.24 This posture is natural        Iran has allowed many registered Afghan refugees
for the Perso-centric, Farsi-speaking Iranians as well      relatively free movement, rather than confining them
as for many of the Afghan elite who speak Dari (the         all to camps, it is not always easy to distinguish
Afghan dialect of Farsi). It is less natural for a neigh-   between legal Afghan refugees, legal Afghan migrant
bor that wishes to help stabilize Afghanistan’s govern-     workers, and illegal migrant workers or immigrants.
ment in the face of the primarily Sunni and Pashtun             After gaining power in 2005, the Ahmadinejad
Taliban insurgency that is fueled by resentment of the      administration wasted little time in highlighting its
Dari-speaking elite and its members’ supposedly             concerns about Afghan migrant workers. In February
Shiite proclivities. An Iranian emphasis on pan-            2006, the Iranian ambassador in Kabul announced
Persianism or pan-Shiism may have interesting and           that “all Afghan refugees living in Iran illegally”
unpredictable long-term effects within Afghanistan          would be expelled by September 2006.30 Those who
and on Afghanistan’s relationship with Iran.                failed to comply would be arrested and detained in
                                                            camps. It would have been impossible for Afghani-
                                                            stan to absorb more than a million returning refugees
        Refugees and Migrant Workers                        and migrants within seven months, and the Iranians
                                                            apparently abandoned the notion.31 Ahmadinejad
Over the past three decades, Afghans have fled their        resumed deportations a year later, prompting a
country in staggering numbers. Millions of Afghans          humanitarian and political crisis in Afghanistan that
fled the country after the Soviet invasion of 1979.         persisted throughout 2007.

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         On April 15, 2007, Afghan foreign minister Ran-       in particular is reaching alarming levels; and there is
     gin Dadfar Spanta announced that the Iranians were        a desperate shortage of urban and rural housing.”39
     going to start expelling illegal Afghan immigrants.32     Human Rights Watch (HRW) declared on June 19
     On April 21, the Iranian interior ministry, working       that “Iran should immediately halt the mass depor-
     with the affected provinces, began rounding up            tations of Afghan nationals and investigate allega-
     Afghans in Iran illegally, concentrating them in newly    tions that its authorities have abused numerous
     constructed camps on the border, and deporting            deportees.” Noting that Iran had expelled one hun-
     them to Afghanistan. Iranian interior minister Mostafa    dred thousand Afghans since April 21, HRW
     Pour-Mohammadi described the effort as a two-phase        asserted that “Iranian officials have also expelled
     plan aimed at expelling “one m[illion] resident aliens”   Afghans who have been registered with the authori-
     by March 2008.33 By early May 2007, tens of thou-         ties, many of whom have been regarded as refugees
     sands of Afghans had been repatriated.                    (panahandegan) for many years.”40
         Afghan officials, including speaker of the Wolesi         Iranian deputy foreign minister for Asia-Pacific
     Jirga (the lower house of the Afghan parliament)          and Commonwealth countries Mehdi Safari arrived
     Yunus Qanuni, negotiated with their counterparts in       in Kabul on May 13 for talks with Karzai. The two
     Tehran.34 Qanuni’s intervention was the prelude to a      “stressed gradual and regular repatriation of Afghan
     serious political crisis in Kabul. Spanta said that the   refugees living in Iran who have no legal documents.
     mass expulsion was unexpected. President Hamid            Safari said Iranian President Mahmoud Ahmadine-
     Karzai announced that he had instructed the minis-        jad has agreed with gradual and regular return of
     ter for refugee affairs to address the problem and said   Afghan refugees to their homeland.”41 Karzai and
     that he intended to call Ahmadinejad. Allegations of      Safari agreed that an Afghan team would go to
     violence and misconduct by Iranian officials began to     Tehran to discuss the issue further. Karzai once again
     circulate as the refugees arrived in Afghanistan.35 In    invited Ahmadinejad to visit Kabul—a visit that was
     response to the growing tension, Tehran escalated         apparently already scheduled for mid-June. Safari
     its rhetoric. Pour-Mohammadi announced that the           also met with Qanuni and called for the “consolida-
     surge of Afghan refugees in Iran was the result of the    tion of mutual relations and establishment of Iran-
     “heavy American military presence” in Afghanistan.        Afghanistan Parliamentary Friendship Group.”
     He claimed that the number of Afghans in Iran had         Qanuni was invited to visit Iran soon.42 Two weeks
     been swelling since the deployment of NATO troops         later, Karzai spokesman Karim Rahimi announced
     and claimed, “I have visited Afghan refugee camps         that “Iranian officials had agreed to halt the process
     and noticed that most of those expelled following         [of involuntary repatriations] for three months.”43
     their arrests have re-entered into Iran over the last         If Tehran actually agreed to suspend the deporta-
     three years.”36 The next day, refugees minister           tions at the end of May, the news was slow to
     Mohammad Akbar Akbar lost a no-confidence vote            reach the relevant provincial officials. Police and the
     in the Wolesi Jirga—the first minister ever to do so.37   Fath Operational Base in Sistan and Baluchistan
     Spanta followed two days later.38                         announced that they had driven out 74,597 “for-
         By mid-June, humanitarian organizations were          eigners” since April 21 and urged remaining “illegal
     in an uproar over the Iranian deportation. The Inter-     foreign nationals” to register with the authorities “as
     national Organization for Migration (IOM) called          soon as possible in order to take part in creation of
     for a mobilization of international resources to “avert   their homeland’s future.”44 The governor of Zabol
     a humanitarian crisis,” noting that “the forced           (on the Afghan border, a few miles from Zaranj),
     removals are taking place at a time when Afghani-         boasted of clearing 165 villages of “foreign nationals”
     stan still faces serious internal challenges. The secu-   and expelling over 45,000 foreigners since April. He
     rity situation remains volatile; unemployment in          added that “from the outset of the project, most of
     general and among the youth and unskilled laborers        the foreigners did not believe that the project would

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be launched effectively and some hostile groups were        accompanied by the complaints of international
trying to halt the plan, but thanks to God’s favors and     organizations, generated hardly any notice. The
our officials’ vigilance, the problems were resolved        seizure of two or three truckloads worth of military
and plots of enemies were foiled.”45 The Esfahan            supplies for the Taliban, however, was widely
provincial governor’s deputy for alien and immigra-         reported and highly controversial and has served,
tion affairs complained in mid-June that forty thou-        quite improperly, as a litmus test for Iranian inten-
sand Afghans still lived in his province without            tions in Afghanistan. The weapons shipments them-
permits. He warned that anyone employing illegal            selves were small—at least those that NATO and
residents would be fined and punished.46 A Friday           Afghan forces seized. The significance of these ship-
prayer leader of Saravan (in Sistan-Baluchistan             ments can only be understood within the larger con-
province) declared that Karzai’s objections to the          text of Iranian involvement in Afghanistan and the
repatriation program are “because of American dom-          security situation within Afghanistan.
ination and orders in Afghanistan.” He added that              The first significant report of Iranian weapons in
“the project to round up and deport illegal immi-           Afghanistan in 2007 came from a press conference
grants must be carried out at full stretch. He also said    with then-chairman of the Joint Chiefs of Staff Gen-
that security bodies, intelligence agencies, and the        eral Peter Pace on April 17. Pace announced: “We
public must coordinate their work in order to send          have intercepted weapons in Afghanistan headed for
foreigners back to their countries.”47 And on June 21,      the Taliban that were made in Iran. It’s not clear in
the governor of Zahedan—the capital of Sistan and           Afghanistan which Iranian entity is responsible.”
Baluchistan—“announced the beginning of the sec-            The shipment included mortars and plastic explo-
ond phase of the project to expel foreign nationals         sives and was seized near Kandahar within the pre-
from Sistan-Baluchestan.” He declared, “Everything          vious week. Pace was careful to obfuscate the
is ready to start the second phase of the project to        question of Iranian government control over the
expel illegal foreign nationals from Zahedan that will      shipment: “We know that there are munitions that
begin tomorrow 1 Tir (22 July).”48                          were made in Iran that are in Iraq and in Afghani-
    It is not entirely clear what has become of the         stan. And we know that the Quds Force works for
plan to evict a million Afghans from Iran by March          the IRGC [Iranian Revolutionary Guard Corps]. We
2008. By early July, the IOM reported that Iran had         then surmise from that one or two things. Either the
deported some 130,000 Afghans since April 21, but           leadership of the country knows what their armed
Iranian news reports suggest that most of the depor-        forces are doing, or that they don’t know. And in
tations occurred within the first month or six weeks        either case that’s a problem.”50 The next day,
after the order. Thereafter, the actual movement of         Brigadier General Joseph Votel, deputy command-
Afghan refugees across the border appears to have           ing general for operations of Combined Joint Task
slowed, although it is possible that the Iranians con-      Force-82 (CJTF-82), was asked about Pace’s state-
tinued to arrest and concentrate Afghans in camps           ment in a press conference at Bagram Air Base. He
near the border.49 One fact, however, is inescapable:       explained that the caches Pace was referring to were
the Iranian government has Kabul on the defensive.          found outside of his area of operations, “so I don’t
                                                            know all the particulars of those finds.” Pressed fur-
                                                            ther, he said, “I’m not sure I really have the visibility
             Support for Insurgents                         to address that particular problem. . . . Being in
                                                            Regional Command East, you know, our focus is
Iran’s economic involvement in Afghanistan and its          more over on the Pakistan border, so we certainly
role in the refugee crisis are indisputable, but they are   don’t see [any] direct influence from Iran. . . . Right
almost totally ignored by the Western media. Even           now it’s not having an impact here in Regional Com-
the expulsion of more than 130,000 Afghans,                 mand East.”51

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                                                                    FIGURE 1
                                            COMMAND STRUCTURE IN AFGHANISTAN


                                                                                                              U.S. Central Command
                                                  Supreme Allied Commander, Europe                             ADM William Fallon
                                                      GEN Bantz Craddock (U.S.)                                        (U.S.)



                                                  Commander, Joint Forces Command,
                                                              Brunssum
                                                      GEN Egon Ramms (GER)


                                                                                                               Operation Enduring
                                                      Commander, International Security                         Freedom/CTJF-82
                                                            Assistance Force
                                                         GEN Daniel McNeill (U.S.)
                                                                                                               Regional Command
                                                                                                                 (East)/CTJF-82
                                                                                                              MG D. Rodriguez (U.S.)
            Regional Command      Regional Command           Regional Command             Regional Command
                  (North)               (West)                    (South)                      (Capital)
           BG D. Warnecke (GER)    BG F. Macor (IT)           MG J. Page (UK)             BG K. Erdem (TUR)



     SOURCE: AEI, 2008.




        This exchange highlights an important problem                        Special Operations Task Force, which operates both
     in the command arrangements in Afghanistan that                         in Iraq and Afghanistan, and through Operation
     has seriously hindered the Coalition’s ability to                       Enduring Freedom. The force executing Enduring
     comprehend—or at least articulate—the scale and                         Freedom is CJTF-82, based around the headquarters
     intentions of Iranian intervention in Afghanistan.                      of the 82nd Airborne Division, commanded by
     The 2006 transition in the Afghan mission from                          Major General David Rodriguez. But CJTF-82 is also
     American leadership to NATO leadership created at                       the headquarters and force responsible for executing
     least two major problems in the command structure                       the NATO–International Security Assistance Force
     of the mission (see Figure 1). It shifted operational                   (ISAF) mission in Regional Command (RC) East. It
     control of American forces in Afghanistan from U.S.                     is therefore nominally under the control both of the
     Central Command (CENTCOM)—the four-star                                 CENTCOM commander, Fallon, and of the EUCOM
     headquarters now under Admiral William Fallon                           commander, Craddock, via an American headquar-
     that has responsibility for the area from Pakistan                      ters in Bagram, Afghanistan, and a German-com-
     to Morocco—to a NATO headquarters—Joint                                 manded headquarters in Brunssum. The rest of
     Forces Command–Brunssum (JFC Brunssum), com-                            Afghanistan is the responsibility of four other ISAF
     manded by German General Egon Ramms. JFC-                               headquarters: RC West (Italian command), RC
     Brunssum reports to the Supreme Headquarters                            South (British command), RC North (German com-
     Allied Powers Europe, commanded by the Supreme                          mand), and RC Capital (Turkish command).
     Allied Commander Europe, General Bantz Crad-                                The result of this byzantine command arrange-
     dock, who is also the commander of U.S. European                        ment is that it is very difficult for anyone to develop
     Command (EUCOM). But CENTCOM retains                                    a coherent, detailed understanding of what is actu-
     responsibility for counterterrorism operations in                       ally going on in Afghanistan. ISAF commander Gen-
     Afghanistan, both through the Combined Joint                            eral Daniel McNeill theoretically holds the position

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in Afghanistan equivalent to the one General David         from Iran have been found in Afghanistan.” Instead
Petraeus holds in Baghdad, but not in reality.             he replied: “It’s very hard to say something about that.
McNeill operates within a NATO framework over-             We, of course, received the information that this
seeing the soldiers of twenty-six NATO and twelve          might be the case. We cannot deny or confirm it. We
non-NATO countries, many of them deployed with             know that there are some high-end weapons like the
national caveats that restrict the operations they can     AGS-17, which has shown up in Helmand. Whether
undertake. His immediate subordinates, apart from          this weapon has been brought into Iran [sic] is for us
Rodriguez, are NATO commanders, not American               very hard to actually be very firm about.”53 At a Kabul
commanders, and they are accountable to and take           press conference ten days later, ISAF spokeswoman
orders from their own national governments as well         Lieutenant Colonel Maria Carl was more specific:
as from McNeill. Even the media suffers from this          “The weapons seized included RPG-7 launchers, light
arrangement. American reporters regularly inter-           guns, and explosive devises. The arms bore the dis-
view American commanders, from McNeill to indi-            tinct hallmarks of Iran, she claimed.”54 Carl stopped
vidual brigade commanders, but rarely interview            short of addressing the question of the involvement of
even the British commanders of neighboring RC              the Iranian government.
South, let alone the Turkish, German, or Italian com-          The issue surfaced more dramatically following
manders of the other sectors. Following the details of     the seizure of another shipment in early June. Colonel
a complex story like the movement of a few truck-          Rahmatullah Safi, commander of the Afghan Sixth
loads of Iranian weapons from Iran through Herat           Border Brigade, told Afghan media that his forces had
and Farah provinces (in RC West) into Nimruz, Hel-         seized Iranian “high-intensity anti-tank bombs” from
mand, and Kandahar provinces (in RC South) and             a mountain cave in western Herat province. Major
possibly into the areas in which U.S. forces regularly     General Kiramuddin Yawar, the border police com-
operate is extraordinarily difficult. This difficulty is   mander for the western zone, showed the Pajhwok
one of the reasons for the confusion surrounding the       Afghan News Agency six bombs that bore “all the
story of Iranian weapons moving around Afghanistan         Iranian hallmarks.” An anonymous “intelligence offi-
and helps explain why the American division com-           cial” (nationality not specified) “revealed around 10
mander in eastern Afghanistan can reasonably claim         Iranian-made bombs had been seized so far in Herat’s
to have no real idea of the scope or purpose of Iranian    Shindand district alone.”55 It is not clear if these are
arms shipments captured to his immediate west.             one or two caches—the Ghurian district in which Safi
   The command confusion is only part of the prob-         says his forces had found six bombs is not that close
lem, however. Another, perhaps greater, issue is the       to the Shindand district, which has no border with
determination of military officials at all levels from     Iran. It is quite possible that there were two separate
early on to distinguish between the presence of Ira-       caches, as McNeill announced on June 5:
nian weapons in Afghanistan and the implication
that the Iranian government was deliberately sending          We have intercepted at least two convoys that
them there. Thus, the commander of American                   have contained munitions or weapons. Some
forces in the westernmost sections of RC East                 of those munitions and weapons clearly of—
explained on April 24, 2007, that “there may be an            are Iranian origin. . . . We do have two events
Iranian presence throughout the battle space. But is          in which we have recovered explosively
it state-sponsored? Is it state-sanctioned? I have            formed penetrators [EFP]. . . . In one case, it
absolutely no ability to link that together at this           was not highly sophisticated in terms of giving
time.”52 Even Dutch Major General Ton van Loon,               it a technology-type measurement; in the other
then-commander of RC South—where the weapons                  case, it was fairly sophisticated. In both cases,
were found—refused to clear up the confusion when             they had characteristics of EFPs that I had read
he was asked about “the latest report that weapons            about that have been found and indeed used in

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        Iraq and are said to have originated from Iran.             Clarity briefly emerged on June 13 when Under
        . . . We intercepted those convoys. . . inside of       Secretary of State Nicholas Burns said, “There’s
        Afghanistan. We intercepted them out west. In           irrefutable evidence the Iranians are now” transferring
        the case of one of them, there were mortar              arms to Taliban fighters in Afghanistan. He added, “It’s
        rounds that were clearly of Iranian origin.             certainly coming from the government of Iran. It’s
        There were also explosives, plastic explosives,         coming from the Iranian Revolutionary Guard Corps
        packaged to make it look like U.S.-made C-4,            command, which is a basic unit of the Iranian gov-
        which is an up-scale version of plastic explo-          ernment.”60 The Afghan and American governments
        sives. It’s my understanding that similar types         almost immediately began to walk it back, however.
        of explosives have been found in Iraq, and              The same day, Gates said:
        once again, the information says they originate
        from Iran. . . . The convoys were intercepted              I think it’s been a couple of weeks or so since I
        inside of the Afghan border with Iran—in one               was asked about the Iranian supply of weapons
        case, well inside; in the other case, inside.56            to Afghanistan. I have seen additional analysis
                                                                   in the interval that makes it pretty clear there’s
        McNeill took pains, however, to emphasize that             a fairly substantial flow of weapons. I would
                                                                   say, I haven’t seen any intelligence specifically to
        [w]e don’t have conclusive evidence to say                 the effect—to this effect, but I would say, given
        that this was something officially sanctioned              the quantities that we’re seeing, it is difficult to
        by the government of Iran. But I might point               believe that it’s associated with smuggling or the
        out that in the experience I’ve had in Afghani-            drug business or that it’s taking place without
        stan, which is going on for almost a year and              the knowledge of the Iranian government. . . .
        a half, over two tours now, it’s not uncommon              My impression is that the weapons are intended
        to find weapons or munitions from lots of                  for the Taliban. I don’t know that we have seen
        countries. . . . I just stand by what I said. I            any evidence of Qods Force in Afghanistan.61
        haven’t seen conclusive evidence there’s any-
        thing in the way of formal sanctioning by the              State Department spokesman Sean McCormack
        Iranian government for what we have found               added that he could not establish a “hard link . . .
        in the way of weapons and munitions that                between an Iranian government–approved program
        have come into this country.57                          and the transfer of those arms,” but that it is “hard to
                                                                believe that they’re not” involved. “And if they don’t
         Pace was similarly positive in a June 3 press con-     know about it, then that raises other troubling ques-
     ference that Iranian weapons—including EFPs—had            tions, that they don’t fully control what’s going on
     been seized in Afghanistan and that he did not know        inside their own country.”62 Asked about Burns’s
     whether or not the Iranian government was intention-       statement, McCormack said, “I think what Nick was
     ally sending them there.58 Secretary of Defense Robert     doing was giving voice to all of these concerns and
     Gates took a similarly ambivalent stance in a June 5       suspicions that all of us have.”63 Burns himself
     joint press conference with Karzai, but the Afghan         revised the statement a little the next day:
     president was less ambivalent: “We don’t have any
     such evidence so far of involvement of the Iranian gov-       What I meant to say was that there is
     ernment in the supplying [sic] the Taliban. We have a         irrefutable, clear evidence that Iranian-origin
     very good relationship with the Iranian government.           weapons have found their way into Afghani-
     Iran and Afghanistan have never been as friendly as           stan, and they have been intercepted by allied
     they are today. In the past five years, Afghanistan have      forces, and those weapons, we believe, were
     [sic] been Iran’s very close friend. . . .”59                 destined for the Taliban. Secretary of Defense

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   Gates said yesterday that he finds it very diffi-      what results we are getting after the investigation
   cult to believe that the Iranian Government is         and assessments in the area.”67 The following
   not aware of these or connected to these, so           month, an ISAF officer and “expert on explosive
   this is a change in Iranian government policy.         devices,” Thomas Kelly, told Afghan media “that
   For a long time, we assumed that the Iranians          they had found no evidence regarding arms supply
   were the foe of the Taliban and were going to          to the opponents from other countries. . . . Last
   give constructive support to the Afghan govern-        month, intelligence officials announced that a land-
   ment. But now we have a situation where there          mine defused near the Polytechnic University in
   is this very disturbing evidence that Iranian-         Kabul was similar to ones used by insurgents in
   origin weapons have been conveyed across the           Iraq. However, Kelly said tests had proved that
   border into Afghanistan for the Taliban.64             the explosive device was different from those used
                                                          in Iraq.”68
   Safi, however, continued to stoke the fire,               But three days later another story broke. Pajhwok
announcing on June 18 that “more than 20 armed            Afghan News reported: “The government of Iran has
men crossed the border from Iran into Afghanistan         converted the military camps of former mujahedeen
and entered a town. . . . [A]ccording to intelligence     into training camps for the opponents of the current
information, the group of armed militants crossed         Afghan government.” An anonymous parliamentar-
the border into the Anardara District of Farah            ian from Herat,
Province on 18 June.” He added, “Two pickup trucks
with over 20 armed people onboard crossed the bor-           [q]uoting residents of Herat and Farah
der from Iran to Afghanistan.” Safi explained that           provinces, who had freshly returned from the
according to intelligence, “the men were heading             neighboring country, said the former muja-
toward the Zirkoh area in Farah province, which has          hedeen training camps in Turbat Jam, Birjand,
been the site of escalating militant activity in recent      Taibat and Haji Abad areas had now been con-
months.” A few days later, he said, “We had some             verted into training camps for Taliban.
reports that two vehicles entered our country from               He said people who had returned from
the border areas. . . . There were only some reports.        Iran claimed that high ranking Taliban were
We have not seen them personally. We have ordered            also freely visiting those “training facilities.”
our forces to control such movements. However, we                He added Yahya Khurdturk, a former com-
did not find any other incidents.”65 According to            mander of Islamic Movement of Sheikh Asif
Radio Free Europe/Radio Liberty (RFE/RL), “Safi also         Mohsini and currently a member of the
has told Western and Afghan journalists that rem-            Islamic United Front of Ustad Akbari, leader
nants of Iranian ammunition were discovered on the           of the Shi’a community, had also got training
ground in Herat Province after fierce clashes last           along with his colleagues at . . . those camps.
weekend between Taliban and Afghan police. He                    The MP said Yahya was directly linked to
said five antitank mines with Iranian markings were          the Revolutionary Guards known as Sipah-i-
also seized at the border two weeks ago.”66                  Pasdaran [the IRGC]. . . .
   But even Safi was careful to distinguish between              Ahmad Behzad, another MP from Herat
Iranian weapons and Iranian intentions, telling              province, said: “We have information that Sep-
RFE/RL, “So far we don’t have any evidence which             ahi Qudus (sacred force) [the Quds Force], a
would satisfy our government and the international           wing of the Pasdaran, is organizing and equip-
community that our neighboring countries have                ping opposition inside Afghanistan as well as
been undermining our country’s [laws]. . . . We              train[ing] them at the centers in Iran.”
would need evidence to prove it. We have ordered                 He termed the alleged training facilities for
our military units to check the reports. We will see         Taliban as an open intervention in the internal

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        affairs of Afghanistan by the neighboring            “YM-type landmines” of Iranian manufacture on the
        country.                                             way from Uzbekistan into Afghanistan.72 Three
            Behzad added: “We have information that          weeks later, an interior ministry spokesman denied
        such centers are existing not only in the bor-       that any Iranian-made mines had been seized.73 The
        der areas, but also in remote provinces.”69          next day, Safi and Afghan deputy interior minister
                                                             General Munir Mangal announced that large caches
        Safi repeated the accusations in an interview with   of Chinese, Iranian, and Russian weapons had been
     the Gulf Times, saying                                  seized in the Ghurian district of Herat province.74
                                                             Five days later, U.S. director of national intelligence
        that he had intelligence information that mili-      John Negroponte “rejected any direct supply from
        tants including former mujahedin, who fought         China to the militants. However, he said the Chinese
        Soviet forces in Afghanistan and later plunged       officials had told them they had sold such weapons
        the country into a bloody civil war, ousted          to Iran some time back.”75 In October, Afghan
        members of the Taliban and foreign fighters          defense minister Abdul Rahim Wardak noted that
        were trained in Iranian military bases.              evidence was piling up that Iranian weapons,
            “I have information that 45 fighters led by      including EFPs, were going to the Taliban. He said
        Yahya Khortarak, who was a mujahedeen                that he had taken the matter up with the Iranians,
        commander in Herat province in the past, are         who had completely denied it. He added: “There is
        now under training in the border town of Tur-        no doubt that there is something coming from our
        bat Jam in Iran and they want to enter Herat         western border. There are weapons and maybe some
        from the Kamana area of the border to carry          financial supports [sic] and others. But to be really
        out some terrorist acts like planting mines, or      completely clear about it, I think it will take a little
        even maybe suicide attacks,” Safi said.              bit of time to come up with the right conclusion.”76
            The brigade that Safi commands comprises         At the end of the month, Safi coyly explained his
        1,652 agents, but he says the actual number of       apparently shifting views on the matter to a German
        men patrolling the 1186km border is barely 900.      magazine: “The Interior Ministry has forbidden me
            “We don’t even have one guard per kilome-        to talk with journalists anymore,” he said. “I have
        ter, but the Iranians have thousands, so it’s        never seen weapons from Iran. . . . There are many
        impossible that they are unaware of these            things that I am not supposed to say.”77
        movements,” he admitted. . . .
            “I am not talking for any one, neither for
        Karzai nor for the Americans—whatever I see                                Analysis
        I say it. I have seen the Iranian-made mines
        and armed people entering Afghanistan and            There are three key questions to be answered about
        I know that the militants are trained there,”        Iranian activities in Afghanistan: Are the Iranians
        he stressed.70                                       pursuing a coherent strategy? If so, what is it? And
                                                             irrespective of Tehran’s intentions, what is happen-
        The next day, however, Safi twice denied on          ing on the ground? The first two questions cannot be
     Afghan radio stations that he had said that Iran was    answered based on available open-source informa-
     involved in training terrorists.71                      tion. Since neither Afghan nor Coalition forces have
        The back-and-forth about Iranian weapons and         captured senior Iranian advisers in Afghanistan—as
     the possible involvement of Tehran in shipping          American and Iraqi forces have done in Iraq—there
     them continued for the rest of the year. In mid-        is no indisputable proof that Tehran or its agents are
     August, officials in Balkh province in north-central    pursuing any particular strategy. Internal dynamics
     Afghanistan claimed that they had seized a hundred      in the eastern provinces of Iran, moreover, suggest

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plausible explanations for some of the important            Afghanistan is the world’s largest supplier of opium
events described above, although even these internal        and Iran a major consumer, Iranians connect
dynamics could also be part of a larger strategy. In        Afghans—especially illegal migrant workers—with
the absence of solid evidence, however, the discus-         the drug trade. For all of these reasons, a canny
sion of Iranian intentions is difficult to resolve. It is   politician in Tehran could well calculate the domes-
much easier and helpful, however, to describe the           tic benefits of an ostentatious effort to round up and
effects of Iranian actions in Afghanistan. At the end       deport illegal aliens.
of the day, whatever Tehran’s intentions might be,              Iranian officials have worked to take political
Iranian agents—up to the presidential level—have            advantage of the expulsion of Afghans, whatever its
set in motion a chain of events in Afghanistan that is      true motivations were. A senior official at the Ira-
hindering NATO’s efforts to stabilize that country.         nian Ministry of Labor and Social Affairs announced
                                                            three days before the start of the operation that
Iranian Intentions. The Ahmadinejad government              Iranian workers had replaced 107,700 Afghans in
has been preoccupied with three things in 2007:             2006 and that they aimed to replace at least
improving the Iranian economy, escalating tensions          210,000 more in 2007.80 As the operation began,
with the United States, and defeating its political         officials in Sistan and Baluchistan claimed that the
opponents in the March 2008 parliamentary elec-             deportation was improving the situation in the
tions. Ahmadinejad has made much of his repeated            province almost immediately. Less than a week after
tours of every province in Iran, during which he            the operation’s beginning, several senior officials
meets local leaders and local people and accepts peti-      reported reductions in traffic, the price of fuel, and
tions, promises improvements, exhorts, and gener-           lines outside of bakeries, as well as a falloff in human
ally behaves like a politician. He has emphasized           trafficking.81 The claims are possibly accurate—
efforts to improve the lives of the Iranian people,         removing tens of thousands of people rapidly from
although he has become perhaps more shrill as sanc-         an area tends to depress prices and eliminate lines,
tions, Iran’s international isolation, and government       at least for a time.
mismanagement have driven perceptions of quality                The mass expulsion of Afghans could also dove-
of life downward.78 He and his political allies have        tail with Iranian security developments in several
also made much of the steadily rising tensions with         ways. Tehran seems concerned about the possibility
the United States over Iran’s nuclear program and its       of U.S. attacks coming from Afghanistan or Paki-
activities in Iraq. There was significant public rhetor-    stan.82 It is difficult otherwise to explain the open-
ical defiance by Iranian military officials over the        ing of a new Iranian air base at Birjand in South
course of 2007, accompanied by the announcement             Khorasan in the middle of Iran’s eastern frontier. At
of a number of undertakings supposedly aimed at             the inaugural ceremony in October 2007, the base’s
preparing the Islamic Republic to defend itself             commander said that “with the inauguration of this
against American attack. All of these activities can        base, from now on, all the military movements of
help to explain Iranian interference in Afghanistan.        the regional and world powers based in Afghanistan
    The presence of more than a million Afghan              and the Persian Gulf would be under the observa-
migrant workers is seen by many Iranians as a drag          tion of the air force.”83 The Iranian police estab-
on the economy.79 Iranian officials frequently point        lished a new base called Rasul-e Akram (Most Noble
out that, unlike Pakistan and most other countries,         Prophet) near Zahedan in Sistan and Baluchistan to
Iran has not confined Afghan refugees in camps but          control the borders and deal with “the problem of
rather has allowed them to live among the Iranian           the refugees and illegal immigrants in the region.”84
population and more or less enjoy the benefits of           A provincial official explained that “it was only in
Iranian citizenship. Poor Afghan migrant workers are        Sistan-Baluchestan Province where the police forces
presumed to take jobs away from Iranians. Since             were given the responsibility to observe the security

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     issues, and the Rasul-e Akram Operational Base was        benefits Iranian officials have claimed for this action
     established to that end.” He added:                       may have been secondary benefits. They may also
                                                               have been the primary purposes, with the intimida-
        For the first time in the military history of the      tion of Kabul a secondary benefit or, less plausibly, an
        country and based on a project approved by             unanticipated consequence. As shown below, it is not
        his eminence the great leader (Seyyed Ali              necessary to resolve the question of intentions to
        Khamenei), some units of the Iranian army,             understand the actual effects of the action. The same
        units of the Air Force of the Islamic Republic         is true of Iranian economic assistance to Afghanistan.
        of Iran, some parts of the Intelligence Ministry,          The issue of Iranian military support for the Tali-
        and units coming from the Iranian Revolu-              ban requires a little more examination before turn-
        tionary Guards Corps and Basij were sent to            ing to the effects on the ground in Afghanistan,
        be at the service of the Law Enforcement Force         however. Two arguments are commonly adduced to
        (police) in Sistan-Baluchestan.85                      show that the Iranian government is probably not
                                                               actively aiding the Afghan insurgents. First, the
         The IRGC also recently announced the construc-        mutual antipathy of the Islamic Republic of Iran and
     tion of one hundred new posts for the IRGC volun-         the Taliban is well-known and long-standing. Ira-
     teer paramilitary force known as the Basij in the         nian rhetoric continues to demonize the Taliban,
     “border areas” of South Khorasan,86 coinciding with       and the Taliban returns the favor. It is difficult to
     an increased role for the Basij in defending Iran         imagine a basis for any long-term relationship
     against internal and external threats.87 In this con-     between these two groups or any desire in Tehran to
     text, the regime’s determination to drive Afghans out     see the Taliban return to power in Kabul. Second, as
     of the provinces bordering their own homeland may         almost everyone in Kabul and Washington has been
     be part of an effort to remove potential fifth colum-     at pains to point out, there is no direct evidence that
     nists or at least sources of information from strategi-   the government in Tehran—that is, Ahmadinejad
     cally important areas prior to an anticipated attack.     and his immediate subordinates—ordered the ship-
     The “compromise” that Tehran seems to have                ments of weapons that Coalition forces captured in
     worked out with Kabul over the refugee issue sug-         Afghanistan. Instead, both Afghan and U.S. officials
     gests that such strategic concerns play a role. Iran      have labored to create the possibility that rogue ele-
     has insisted that it will clear Afghans from Sistan and   ments within the Iranian military have been smug-
     Baluchistan, however many it ultimately repatri-          gling advanced weapons to the Taliban without the
     ates.88 Even as Tehran promised to issue more work        knowledge of the senior leadership in Tehran.
     permits to Afghans, it reaffirmed its decision to ban         The second argument is difficult to take seriously.
     Afghans from eleven cities.89                             The movement of several truckloads of weapons,
         There is certainly some connection between Ira-       including EFPs and advanced explosives, from arse-
     nian internal economic issues, security concerns (both    nals in operational bases to the border, through bor-
     internal and external), and the expulsion of Afghan       der checkpoints, and then to Taliban operatives is
     refugees in 2007. Available evidence does not sup-        not something that a handful of low-ranking officers
     port a conclusion about causal relationships, how-        and soldiers could undertake without anyone above
     ever. The overall decision to expel the refugees may      them knowing about it. If such a scenario is really
     have been aimed primarily at threatening the Karzai       feasible, then Iran is an incredibly dangerous state,
     government—demonstrating Iran’s virtually limitless       because its military lacks any meaningful controls
     ability to cripple Afghanistan’s reconstruction at any    on the export of military technology. But that is not
     time by dumping hundreds of thousands of destitute        the case. The IRGC is a disciplined and professional
     refugees and migrant workers into Herat, Nimruz,          force, its operational bases are closely guarded and
     and Farah. The economic and internal security             watched, and Iran is sufficiently open that any such

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rogue cabal would be rapidly revealed, arrested, and        IRGC base on the Mashhad-Herat road called
punished. The fact that Tehran has instead simply           Mohammad Rasulullah (Prophet of God). The name
denied sending any weapons to Afghanistan rather            of the base is unremarkable but, similar to that of the
than punishing scapegoats to maintain plausible             Rasul-e Akram base, known from the Iranian press to
deniability renders this argument unsustainable.            have been established at the same time near Zahedan
    The first argument is superficially stronger—           for the purpose of rounding up Afghan refugees.
since it cannot possibly be in Tehran’s interest for the    Zahedan is hundreds of miles south of the location
Taliban to return to power, it makes no sense for the       the Afghans offered for the Mohammad Rasulullah
IRGC to support the Taliban. In reality, this argu-         base, along a different road leading from a different
ment is also rather weak. There is very little question     Iranian province to a different Afghan province.
of the Taliban returning to power at this stage.            Refugees in Herat, indeed, are extremely unlikely to
Whatever the flaws and weaknesses of the NATO               have come via Zahedan, since we know from the
effort and the Karzai government, the Taliban is            Iranian press that refugees in Sistan and Baluchistan
nowhere close to overturning the political order in         were sent to the much closer Afghan provinces of
Kabul. It is barely able to maintain safe havens in its     Nimruz and Farah, rather than Herat. On the other
own heartland for more than weeks at a time. A few          hand, it is quite plausible that the Iranians established
truckloads of Iranian weapons are not going to turn         a new operational base in Khorasan Razavi, parallel to
the tables on NATO and Karzai. The Iranians need            the Rasul-e Akram base in Sistan and Baluchistan, for
not fear that military support at the level they appear     many of the same reasons: to improve security, over-
to be providing will bring their nemesis back to            see the expulsion of Afghan refugees, and improve
power. If the IRGC is sending weapons to the Tali-          border monitoring. It so happens that the Iranian
ban at the levels observed in 2007, the purpose is          media made much of the Sistan and Baluchistan base
much more subtle and the aim more limited. A                and has not apparently done so with the one in
plausible strategy can be seen in the confluence of         Khorasan Razavi, but that may be a matter of provin-
Iranian economic support, the location and nature           cial media or government priorities. Of course, if the
of the major Taliban fights in 2007, and the role a         Mohammad Rasulullah operational base were really
small number of advanced weapons could play in              being used to train Taliban or non-Taliban Shiite
those fights. This confluence will be examined fur-         insurgents in Afghanistan, then the Iranian media
ther in the next section.                                   would be unlikely to report on it. Fallon recently said:
    The most mysterious accusation against Tehran is        “To the best of my knowledge we have not inter-
that the IRGC is using former mujahedin bases to train      cepted any arms shipments in recent months. . . . But
Taliban insurgents. Reports of this activity coincided      we know that there were some shipments from Iran
with the flow of involuntarily repatriated refugees and     that certainly came into Afghanistan earlier this year.
migrant workers into Herat in the spring. These             And we have lots of anecdotal evidence that indicates
reports are exactly what irritated Afghans might            that they have been training some of these insurgents
invent to discredit the Iranian government—the bases        for Afghan.”90 Based on open-source information, we
cited are all along the major road from Herat to Mash-      can only conclude that the story of Iranian training of
had, were well-known locations of mujahedin training        Afghan rebels told by various Afghan officials is plau-
camps, and in some cases are now Iranian police and         sible but not confirmable.
IRGC operational bases engaged in collecting and
deporting Afghan migrant workers and refugees. It is        Effects. The difficulty of determining—let alone
possible that these reports are no more than angry          proving—Iranian intentions in Afghanistan is great,
conspiracy-mongering.                                       as the evaluation above shows. Observing the effects
    It is also possible that there is some truth to them.   of Iranian actions and the relationship between
Afghan officials described the establishment of a new       them and events in Afghanistan is much more

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     straightforward and enlightening—and also more            mass expulsion of Afghan migrant workers and
     important. At the end of the day, the United States,      refugees into Herat, Farah, and Nimruz. On June 22,
     Afghanistan, and their allies must concern them-          the WFP “warned that continuing security problems
     selves with what is actually occurring, regardless of     are hampering operations in some parts of Afghani-
     Tehran’s actual intentions, and they must deal with       stan, especially in the west of the country where food
     the situation the Iranians are helping to create, even    stocks are running short and thousands of the most
     if the allies cannot tell whether or not Tehran is        vulnerable people may soon see critical food supplies
     actively trying to create it.                             curtailed or interrupted.”95 Insecurity and attacks on
         To see the full effect of Iranian activities in       convoys—including twenty-five incidents since June
     Afghanistan, we must briefly consider the major           2006—had prevented the WFP from moving food to
     Coalition and Taliban military operations in the west-    western Afghanistan for four weeks.96 According to
     ern areas in 2007. Since the beginning of the year, the   news reports, WFP Afghanistan country director
     efforts of RC South focused on clearing the Helmand       Rick Corsino said that the disruptions had had a sig-
     River Valley from Garmsir to Kajaki. By the end of the    nificant impact on relief operations for the involun-
     year, ISAF reported that it had finally cleared Musa      tary returnees. Corsino particularly referred to “the
     Qala, the last Taliban stronghold in the area, north-     western region, where WFP had been unable to dis-
     west of Kajaki. The fighting peaked in early May,         tribute promised food to tens of thousands. . . . Some
     when the Taliban launched a significant counterof-        100,000 very poor Afghans have been waiting weeks
     fensive against British forces operating north of the     for food.”97 Deliveries resumed in early July, follow-
     ring road near Sangin. According to multiple reports,     ing the defeat of the Taliban counteroffensive,
     there were several battles that lasted for ten hours or   although attacks on food convoys—which move in
     more and involved hundreds of Taliban fighters. Dur-      unmarked trucks—continued.
     ing these battles, Taliban reinforcements arrived and         Coincidentally, Iran appears to have scaled back
     attempted to set up secondary and tertiary defensive      the involuntary repatriation program in June. Also
     positions and ambushes. In at least one case, British     coincidentally, Coalition forces reported seizing Ira-
     sources reported reinforcements arriving from Shin-       nian weapons moving to the Taliban in mid-April—
     dand district of Herat province, another known Tali-      during the first major British clearing operations in
     ban stronghold. ISAF and the Afghan security forces       Helmand and three days before the start of the invol-
     defeated these counterattacks and continued clearing      untary repatriation program—and in late May to early
     operations, but violence and disorder were prevalent      June, a few weeks into the major Taliban counter-
     in Helmand for much of the spring and summer.91           attack against RC South. Reports of Iranian training
         One interesting consequence of this disorder was      camps for Taliban fighters surfaced in late July, a few
     that insurgents were able to attack food convoys          weeks after movement resumed along the ring road.
     moving along the ring road from Pakistan to Nimruz,           The net result of these activities was to cut
     Farah, and Herat with desperately needed supplies.        Afghanistan’s western provinces off from the rest of
     The United Nations called for a halt on such attacks      the country—including their principal non-Iranian
     in May 2007.92 The World Food Programme (WFP)             sources of aid—through Taliban-inspired violence
     announced that its convoys had suffered twenty            aided by Iranian weapons. This isolation occurred
     attacks in the year preceding May 25, 2007, of which      exactly as Iran flooded Herat, Farah, and Nimruz
     eight had occurred since April 2007.93 The violence       provinces with destitute refugees. It coincided with
     disrupted movement along the ring road generally,         the announcements that work on the Mashhad-Herat
     creating shortages in Herat, Farah, Badghis, and          railway had begun (April 15), that work had started
     Ghor provinces and preventing the movement of             on the Iranian-funded and overseen construction of
     supplies sent from Iran out of the western areas of       warehouses and roads in Farah (May 28), that an
     Afghanistan.94 These disruptions coincided with the       Iranian company would help provide 150,000

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more telephone lines to Afghanistan (June 10), and         • Tehran demonstrated a limited ability to
that Iran and Afghanistan were close to signing a            destabilize the Afghan government by tak-
preferential trade agreement aimed at doubling the           ing actions that pit different factions
volume of trade and establishing a railroad system           against one another.
between the two countries (June 18). In Septem-
ber, the WFP director announced that his organi-           • The combination of Iranian actions and
zation was purchasing wheat in Herat for the first           Taliban activities tied western Afghanistan
time, noting that “[i]nsecurity on the southern ring         ever more tightly to Iran economically
road means we have been unable to move food for              and politically.
well over two months. With seriously depleted
stocks, poor and hungry people in the west of the          • Afghan fears of Iranian retaliation and
country have been suffering.” The WFP release                confusion in the ISAF command struc-
added that it had purchased wheat for the first time         ture, among other things, hindered Coali-
from Iran.98                                                 tion efforts to identify the scope and scale
    The combination of violence and economic                 of Iranian intervention and seriously con-
investment created a powerful synergy in 2007                fused Afghan and American public state-
that drove Afghanistan’s western provinces further           ments about it.
from Kabul and closer to Tehran. The overall Ira-
nian aid program, combined with the threat of              • Iran continued to blame publicly all of
more mass expulsions, muzzled the Karzai govern-             Afghanistan’s problems on the presence of
ment on the issue of Iranian support to the Taliban.         American and NATO forces and met accu-
Pressed on that question, Wardak and Karzai                  sations of Iranian support to the Taliban
always prefaced comments by referring to the posi-           with accusations of American support to
tive role Iran was playing with its economic assist-         al Qaeda.99
ance; highlighting the good relations Tehran and
Kabul enjoyed; and casting doubt on the question           • It became obvious and undeniable that
of the weapons shipments, even when both Afghan              there is no NATO, U.S., or Afghan strategy
and Coalition officers were unequivocal that they            for controlling—or even recognizing—
were occurring. The Iranian management of the                and reacting to Iranian influence in
refugee crisis itself destabilized the Karzai govern-        Afghanistan and that the United States
ment, prompting the Wolesi Jirga to fire two min-            and NATO are not interested in develop-
isters and miring the government in needless                 ing such a strategy.
controversy for half the year.
    Whatever the Iranians intended to do in Afghani-       • Therefore, the Karzai government appears
stan in 2007, the following things occurred:                 to have drawn the conclusion that it is on
                                                             its own with regard to Iran and must
   • Tehran demonstrated its ability and will-               make the best of the situation.
     ingness to destabilize western Afghanistan
     at will, using Afghan refugees and migrant            The sum total of Iran’s activities in Afghanistan in
     workers as bargaining chips with Kabul.            2007 is a coherent and intelligent program to “Fin-
                                                        landize” Afghanistan (that is, neutralize its role in
   • The Afghans have clearly perceived a carrot-       international affairs), create a strategic buffer along
     and-stick strategy from Iran—mass                  the Iranian-Afghan border, and finely calibrate mili-
     expulsions of refugees are the stick, and          tary support to insurgents to produce small but
     $1 billion in trade and aid is the carrot.         strategically important results in support of that

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     effort. Iran evinces a willingness to deploy all               defenselink.mil/transcripts/transcript.aspx?transcriptid
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                                               Conclusions


I  ran is the principal source of weapons, funding,
   training, and on-site advisers for a number of Sunni
and Shiite insurgent and terrorist groups in Iraq,
                                                            included defense and interior ministers; commanders
                                                            of the Iranian Revolutionary Guard Corps (IRGC);
                                                            ambassadors and envoys in several states; numerous
Syria, Lebanon, and the West Bank and Gaza, and it          deputy ministers; police, regular army, air force, and
is almost certainly providing some military support         naval officers; and so on. One may question the level
to the Taliban in Afghanistan. Iran has projected its       of involvement of any particular individual in any
economic power—sometimes even at the expense of             particular decision, but the control of the Iranian gov-
the prosperity of its own people—throughout the             ernment as a whole over the activities of its agents in
region using grants, loans, joint ventures, and private     all fields is not in question. The effort to identify some
enterprises. Many of its major economic projects            “rogue element” within the Iranian regime causing
have had the effect (and sometimes the stated goal)         problems in spite of (or, at least, without the knowl-
of making Iran the vital economic nexus of the area         edge of) Iran’s government is a folly that can persist
from Kabul to the Mediterranean, particularly in the        only so long as we continue to compartmentalize
realms of electricity, hydrocarbons, and road and rail      activities that reveal a very clear and coherent pattern
networks. Iran has developed and used significant           when viewed as a whole.
political and diplomatic influence throughout the               The question of Tehran’s goals and intentions need
region with a variety of tools: overt and secret treaties   not detain us. Taking an Olympian view, one might
and agreements, preferential support for some politi-       note that Iran is, with a few exceptions, simply behav-
cal parties against others, the use of economic and         ing like a normal powerful state: using its economic
migratory leverage, and occasional targeted assassi-        power to derive political leverage; supporting some
nation campaigns. Iranian officials have also worked        factions and opposing others in regional politics;
to advance Iran’s cultural and religious sway               training, equipping, and advising favored military
throughout the region through Persian-language pro-         organizations against their enemies; and so on. Yet
grams, cultural and religious exchange programs,            explaining Tehran’s behavior as natural realpolitik or,
and subsidized pilgrimages to Shia holy sites.              more disingenuously, as a response to the surround-
                                                            ing American menace, does not diminish the reality of
                                                            the Iranian threat to the United States and its allies.
            Intentions and Realities                        Nor does it account for the fact that the Islamic
                                                            Republic is not a status quo power and, regardless of
The notion that Iranian officials and individuals have      how many ordinary Iranians may feel, often seeks to
unconsciously, independently, or unintentionally            promote an ideology that is, at its root, hostile to the
deployed all of the resources of Iranian national           fundamentals that underpin U.S. society.
power coherently in such a way as to move Iran                  It is for this reason that the Islamic Republic’s
toward military, economic, political, and socio-            pursuit of its interests conflicts directly with that of
religious hegemony of its region is absurd. As the con-     the United States. The political and military proxies
tents of this report manifest, Tehran pursues a coher-      Tehran supports throughout the region are almost
ent, integrated, and often transparent strategy.            invariably U.S. enemies. The economic power Iran
Officials openly involved in these efforts have             has deployed in Iraq and Afghanistan has had the

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     effect of weakening the control of Baghdad and             itself into an indispensable nation economically,
     Kabul over outlying regions as the United States has       politically, and militarily in the Middle East. Pursuing
     been trying to strengthen that control. Iran’s political   these interests requires understanding the scope and
     leverage has served to boost Moqtada al-Sadr—an            scale of Iranian activities as they are now.
     avowed enemy of the United States—while Iranian
     agents attempted to assassinate Iraqi prime minister
     (and wayward Iranian ally) Nuri al-Maliki; to force a                 Iranian Military Activities
     confrontation between Afghan president Hamid
     Karzai and speaker of the lower house of the Afghan        Iran’s military involvement in the Middle East over the
     parliament Yunus Qanuni as we were working to              past few years has been sophisticated, coordinated,
     solidify Karzai’s government; to strengthen the            skillful, and nuanced. Iran has recognized the power
     power of Hamas while we sought to broker some              differential between it and the United States and has
     kind of reconciliation in the West Bank and Gaza;          developed innovative methods of asymmetric war-
     and so on. And it is certainly not in America’s inter-     fare. Iranian external military policies in general have
     est for Khomeini-style politically activist Shiism to      relied on leveraging technologies and capabilities to
     prevail over Sistani-type politically quietist Shiism.     achieve maximum effect with minimum cost and
         These facts may reflect Iran’s reflexive fear or       exposure. They are a skillful blend of equipping,
     resentment of America or a genuine desire to achieve       training, organizing, funding, and advising, appropri-
     Iranian hegemony throughout the Middle East—or             ately variegated depending on the specific circum-
     both. Either way, the Islamic Republic is not a status     stances in each theater. Iran has been willing to
     quo power, and there is nothing Washington can do          escalate both the quality of the weaponry and the
     to reverse Tehran’s strategic calculus. More impor-        training it provides, but it has not to our knowledge
     tantly, were it possible, as some insist, to assuage       been willing to share chemical or biological weapons
     Tehran’s fear or satisfy its appetites, the forces Iran    or more sophisticated systems. However, this policy
     has unleashed can no longer be reinserted into the         could change without notice.
     genie’s bottle. It is perfectly reasonable to debate the       Tehran rarely aims at or presupposes the subordi-
     merits of higher-level negotiations with Iran or           nation of local proxies to its control or interests but
     airstrikes against some set of targets, but neither the    generally works instead to support and encourage
     one nor the other will make the problem disappear.         proxies whose interests more or less align with its
         The United States must therefore develop a more        own. Like the Soviet Union in the Cold War, the
     comprehensive strategy to address the manifold             Iranians are often content to help “fellow travelers.”
     challenges Iranian policy in the region poses to our       They have proven patient with divergences and even
     interests. Concurrently, Washington must consider          incompetence on the part of some of their proxies,
     the nature of the regime and the wisdom of various         apparently taking the long view that misguided lead-
     measures to change Tehran’s behavior or to change          ers can ultimately be corrected or replaced, but use-
     the regime itself. The United States has an abiding        ful proxies are hard to find or create.
     interest in stabilizing Lebanon and the West Bank
     and Gaza (and therefore weakening or moderating            Equipment. The most visible and tangible and veri-
     Hezbollah and Hamas); in ensuring that Syria does          fiable aspects of Iranian military activities outside
     not remain a vassal of Tehran and a staging area for       Iran’s borders are in the realm of military equipment.
     Iranian involvement in the Levant; in keeping vio-         Iran’s efforts in this area have ranged from the more
     lence down in Iraq and Afghanistan and helping             or less obvious, as in the case of support for Syria and
     both Baghdad and Kabul develop independent and             Hezbollah, to the almost entirely opaque, as in the
     mature political processes and regain control over all     case of Afghanistan. It is difficult to track closely how
     of their territory; and in preventing Iran from turning    much low-level military equipment the Iranians have

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been sending their proxies, though Israel has made            In Lebanon, Iranian support has been overt and
an art of tracking Hezbollah’s resupply chains. But for    broader. Even so, the provision of Chinese-model
our purposes, the details and range of various mis-        antishipping and surface-to-surface missiles allowed
siles, the component parts of shaped charges, and the      Hezbollah to generate spectacular attacks against
make of light arms is less important than Tehran’s         Israeli naval targets and in the towns of northern
willingness and ability to provide proxies with niche      Israel, and the provision of advanced antitank and
capabilities that can give them key advantages over        anti-aircraft weapons caused the Israeli Defense
their adversaries.                                         Forces considerable trouble during the 2006 war.
    The deployment of Iranian explosively formed           These attacks, and their deterrent and terror effects,
penetrators (EFP) in Iraq is a classic example. Iranian    were more important than any number of AK-47s or
agents have supported the efforts of both Sunni and        regular rocket-propelled grenades the Iranians might
Shia insurgents and terrorists to make and deploy reg-     have given Hezbollah.
ular improvised explosive devices and conduct ordi-           The Taliban are openly scornful of the notion that
nary guerrilla attacks, but insurgents of both sects       they need Iran’s help to arm themselves, and, for the
have also developed these capabilities without Iranian     most part, they are right—there are more than
help. The three most significant types of attack in        enough AK-47s and other such weapons available on
Iraq over the past few years—the kinds of attacks that     the open market for a group with access to nar-
get widespread media coverage and contribute to            codollars. But the International Security Assistance
negative trends in key indicators that affect the debate   Force (ISAF) has intercepted two or three shipments
in Washington—have been car- and truck-bombs,              of higher-end weapons with Iranian markings,
EFP attacks, and rocket and mortar attacks on Coali-       including rockets and EFPs, intended for the Taliban
tion bases and especially the Green Zone in Baghdad.       in the past year. These interceptions have been the
It appears that Sunni terrorists, particularly al Qaeda,   source of significant controversy, partly because of
pioneered the car- and truck-bomb style of attacks,        the widespread reluctance to believe that Tehran
and these became their signature (although it is now       would arm a group that has been as inveterate an
clear that some Iranian-backed groups have also            enemy and as dangerous a threat as the Taliban. In
adopted this technique). But EFPs come only from           truth, this reluctance is farcical. Three or four or ten
Iran, and the rockets and mortars with which specially     truckloads of such weapons would not make the
trained Shia groups have been hitting the Green            Taliban a threat to Iran. But, delivered during intense
Zone and other Coalition bases are Iranian-                operations against NATO forces in critical areas (as
made 107-millimeter or 240-millimeter rockets and          these were apparently intended to be), they could
81-millimeter mortars. These niche capabilities            provide the Taliban with niche capabilities necessary
allowed small groups of highly trained terrorists to       to disrupt communications in Afghanistan in ways
have disproportionate effects on the situation and         that benefit Iran. The sorts of weapons shipments
perceptions in Iraq and the United States. Tellingly,      ISAF and Afghan forces have seized track perfectly
the Iranians appear to have refrained from sending         with the general pattern of Iranian support—key sys-
their Iraqi proxies significant numbers of advanced        tems delivered in just enough quantity at the right
man-portable surface-to-air missiles (MANPADs).            moment to create maximum effect without posing a
Although such weapons could have had an even               danger to Iran or its other allies.
more disproportionate effect on the situation, they           And the level of capability seems calibrated not
have also been an American “red-line.”1 Sending            only to the needs of the local proxies but also to the
advanced MANPADs into Iraq in quantity might have          probability of undesired escalation. In Lebanon and
triggered a direct U.S. attack on Iran. Whether for that   Syria, where Iran can be reasonably confident that
reason or for some other, the Iranians appear to have      virtually nothing it does will lead to a direct attack
held back from such an escalation, at least so far.        on Iranian soil, Tehran has been open-handed. In

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     Iraq, the level of support appears to have been cali-       have trained hundreds of Lebanese. It is unknown how
     brated to a reasonably well-publicized U.S. red-line.       many Afghans or Palestinians have passed through
     In Afghanistan, where Tehran clearly seeks to play          the camps. But the effort is sophisticated. There are
     the part of helper to and ally with Kabul, plausible        initial training courses, and then some cadres are
     deniability has been the key, and the nature and            brought back for more advanced courses. The Ira-
     quantity of weapons sent to the Taliban have been           nians also conduct “train-the-trainer” (TTT) exercises
     kept in check accordingly. And the skill with which         in which they instruct advanced insurgent cadres how
     this equipment strategy has been conducted has              to set up and run their own training programs. TTT
     achieved at least one of its likely aims: very few out-     exercises are evidence of a calculated, long-term
     side observers have detected a pattern and drawn            approach to the problem of creating and maintaining
     the relevant conclusions for each theater.                  reliable and effective proxies in difficult situations.
                                                                 They are also an indication that Tehran is willing for
     Training and Advising. The Iranian penchant for             its proxies to develop some independence—TTT
     leveraging assets and capabilities carries over into        exercises are essential to setting up self-maintaining
     training and advisory efforts, which focus on devel-        autonomous military organizations, which is why
     oping and maintaining a relatively small cadre of           they have been a core component of the U.S. advisory
     highly trained leaders, advisers, and indigenous train-     efforts in Iraq and Afghanistan.
     ers that can operate relatively independently but very          The Iranians do not simply throw their trained
     effectively. The presence of training camps within Iran     proxies into the fight without any additional guid-
     is well-documented. We know from numerous open              ance. They also provide on-scene advisers in some
     sources, including information derived from captured        theaters. Apart from the overt effort in Syria and the
     Iranian agents, that the IRGC Quds Force maintains          slightly less overt effort in Lebanon, the Iranian advi-
     training camps near Tehran. Slightly less reliable          sory effort in Iraq was probably the most sophisti-
     reports suggest that the Quds Force also maintains          cated and well-developed. It includes Iranian Quds
     camps near Mashhad and elsewhere on the Afghan              Force operatives, Lebanese Hezbollahis, and Iraqis
     border and along the Iraqi border as well. Iranian          given advanced training in Iran and then sent back.
     training camps house Iranians, Lebanese, Syrians,           The Iranian advisory effort in Iraq was designed to
     Iraqis, and probably Afghans and Palestinians as well.      allow the Iraqis a fair amount of autonomy while
     It is clear that Lebanese Hezbollahis are involved in       providing objective reporting on their actions. Thus
     training Iraqi fighters, and Lebanese Hezbollahis have      the Iraqi leader of the secret cell network, Qais Khaz-
     been reported as far east as Mashhad, although it is        ali, reported directly to his Quds Force overseer in
     not clear what role, if any, they play in training          Iran in parallel with the Lebanese Hezbollahi Ali
     Afghans nearby. Nor is it possible to establish from        Mussa Daqduq who was assisting him.
     open sources whether there are other links or interac-          In places where Iranian activities can be more
     tions between Afghan, Lebanese, Syrian, Iraqi, and          open, their advisory efforts are more obvious. Ira-
     Palestinian fighters training in Iran—only that they        nian advisers in the Bekaa Valley, for instance, have
     are all there. Iranian training camps thus have the         been key to Lebanese terrorist training, and the
     potential to be the sort of terrorist nexus that Afghani-   Iranians have naturally maintained a more-or-less
     stan was for so long, although it is not clear from open    overt advisory presence on Syrian territory. There
     sources whether or not they are actually functioning        are no open-source reports of Iranian advisers in
     in that way at the moment.                                  Afghanistan. It is quite possible that there are few or
         Iranians and Lebanese Hezbollahis have trained          none—the Taliban has been a well-organized and
     thousands of Iraqi fighters for almost twenty-five          determined fighting force for decades and hardly
     years—going back to the IRGC’s training of Iraqis in        needs outside overseers. But there are many Iranians
     the Badr Corps for fighting in the Iran-Iraq war. They      in Afghanistan, particularly in the western border

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regions, and the paucity of reporting on the question        and antisecularism are all popular themes for Iranian
of Iranian involvement in Afghanistan is such that           proxies, but, then, they are popular themes for many
we can draw no real conclusions about this ques-             groups throughout the Middle East. Tehran is far
tion. One thing is clear: the scale and nature of the        more comfortable with at least superficially national-
advisory effort, like that of the military equipment         istic or local proxies than the Soviets were. The Jaysh
effort, seems to be calibrated both to the needs of the      al Mahdi has always claimed to be an Iraqi national-
proxies and to the likely effect of its revelation.          ist army, not the vanguard of any pan-Shiite front.
                                                             Hezbollah manipulates the concept of pan-Shiite
Organizing. Iranian efforts at organizing proxies have       identity, but remains at heart a Lebanese party and
also varied depending on the requirements of a given         militia. Hamas and the Taliban, both Sunni groups,
situation. In the 1980s, Tehran organized two proxies        naturally make no attempt to claim participation in
virtually from scratch—Lebanese Hezbollah and the            any pan-Shiite effort. Hamas—Palestinian Arabs—
Badr Corps. More recently, the Quds Force developed          and the Taliban—Pashtuns—likewise make no more
the secret cell structure in Iraq in a weird symbiosis       effort to identify themselves as pro-Persian than do
with Sadr’s Jaysh al Mahdi—which Tehran did not              Iraqi Arabs. In this sense, there is no “Iranian bloc”
invent or organize. It is not clear if recent reports that   similar to the Soviet bloc with parallel objectives and
Tehran has been trying to help Sadr reorganize the           a distinct shared ideological identity.
Jaysh al Mahdi are correct. Tehran certainly did not             This heterogeneity is tactically advantageous for
organize or reorganize either the Taliban or Hamas           Tehran—it allows Iran to support whatever tools are
but worked instead through structures that were              most readily at hand throughout the region without
already highly developed.                                    signing on to any particular ideological or even prac-
     Tehran has shown remarkable willingness to              tical regionwide (let alone global) program. But it
work with whatever organizations suit local circum-          does raise an intriguing question: what would Iranian
stances and to allow these organizations to evolve as        hegemony actually look like? The aims of Tehran’s
the situation changes. Hezbollah went from being a           various proxies are not necessarily consonant with
terrorist/insurgent group to being a mini-government         one another (as evidenced by the fact that they are
and semi-legitimate party (albeit still with a terrorist/    actively fighting each other in Iraq). Anti-American-
insurgent wing), and Iranian agents have facilitated         ism (and anti-Zionism) does not distinguish Tehran’s
every step of the process. Iran supports Hamas—a             proxies from other Muslim groups, but it is almost the
relatively well-organized fighting force now attempt-        only common feature they all share (and it is not even
ing to act as a governing partner (or political rival) to    clear that all elements within the Badr Corps continue
Fatah—but it also supports the Taliban, which has            to share it). This fact suggests that Iran’s grand strat-
no real political legitimacy in Afghanistan, very little     egy is reactive—Tehran supports anyone who will
popular support outside of a few localities, and very        help it defeat America and Israel.
little probability of regaining any real share of politi-        Iran’s flexibility on basic questions of mission and
cal power. In Iraq, Iranian agents and money have            ideology calls into question Tehran’s commitment to
supported the well-organized and relatively disci-           stability in the region. Not only are its proxies work-
plined Badr Corps and the ill-organized and undisci-         ing against stability in some areas, but the discord
plined Jaysh al Mahdi, even while creating the most          among their various agendas and objectives creates
highly organized and disciplined Shia force of all in        greater instability. In this respect, again, Iran differs
the secret cell network.                                     profoundly from the Soviet Union. By requiring
     This flexibility in organization contrasts with the     their proxies to accept a common set of goals and
Soviet approach to its revolutionary proxies during the      values, the Soviets thereby made them intellectually
Cold War, which followed a doctrinaire and largely pre-      interoperable. By forcing their proxies to renounce
dictable model. Anti-Americanism, anti-Westernism,           nationalism and localism, they (theoretically)

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     ensured that their own hegemony would be stable              have ever “gone out of business” for lack of cash. But
     and internally consistent. Ascendant Iranian proxies         these peculiarities of Islam offer Islamist insurgencies
     will not be as interoperable. Whatever idea guides           additional revenue streams with which to supple-
     Iranian actions, a coherent and stable vision for the        ment the largesse of key donors like Iran.
     Middle East is not part of it.                                   They also allow some proxies to effectively develop
                                                                  independent revenue bases. It is widely reported
     Funding. Iran provides a great deal of cash to its           (although there is very little hard evidence) that
     favored clients. Iranian money supports Hezbollah,           Hakim’s Supreme Iraqi Islamic Council (SIIC), the
     Sadr, the rival Iraqi Shia bloc of Abd al-Aziz               party formerly known as the Supreme Council for the
     al-Hakim, perhaps the major Kurdish parties, virtu-          Islamic Revolution in Iraq, continues to receive Ira-
     ally every other major political grouping in Iraq,           nian subsidies. It may, but it would almost certainly
     Palestinian Islamic Jihad, Hamas, and so on. Much            survive without them, since SIIC partisans control the
     has been made of the difficulty of confronting non-          Imam Ali and Imam Hussein Shrines in Najaf and
     state actors such as al Qaeda. While it is certainly         Karbala, are the most powerful Shiite party in the
     more difficult in some respects, it is easier in others.     Iraqi government and therefore control most local
     Iran appears to have the best of both worlds. It har-        government in southern Iraq, and benefit from Iraq’s
     nesses the resources of a large and wealthy state and        oil resources. The Sadrists, by contrast, are probably
     puts them at the disposal of various asymmetric              more dependent on Iranian cash. They control the
     proxies. As long as Tehran has the will to support           Kadhimiya Shrine in Baghdad but little else of finan-
     these groups and oil prices remain high, Iran’s prox-        cial value. When Iranian money to the Sadrists dried
     ies need never lack for funds.                               up, the movement’s ability to finance its activities suf-
         It is worth noting in this regard a special feature of   fered. When examining Iranian proxies, therefore, it is
     Islamist asymmetric groups resulting from a peculi-          important to keep in mind not only the fact that
     arity of Islam: the zakat, or religious alms. Repeated       Tehran does not attempt to impose any rigid ideolog-
     Quranic injunctions to pay the zakat, which can              ical unanimity, but also that some proxies can eman-
     range from the standard 2 to 20 percent of disposable        cipate themselves from Iranian support more readily
     income (in the Shiite Khums tradition), are ingrained        than others. It is too soon to tell how exactly Iran will
     in the Muslim consciousness. The relatively flat hier-       react to this development in Iraq.
     archy of Sunni Islam allows extremists who control
     local clergies (or establish local “emirates” that claim
     to have political legitimacy) to lay claim to this rev-                           Economics
     enue stream. The Shiite sect has a more hierarchical
     structure, which has complicated matters for the             Iran is a large state with massive oil reserves. In an
     Tehran regime, since the most influential single Shi-        age of high oil prices, the Tehran regime will invari-
     ite religious figure now is Grand Ayatollah Ali al Sis-      ably have a lot of cash, even if mismanagement has
     tani in Najaf. But many expatriate Lebanese, for             led to unemployment, underemployment, and infla-
     example, identify Hezbollah (or at least its spiritual       tion. And while Iran’s economic integration into the
     leader, Hassan Fadlallah) as the legitimate beneficiary      region has been limited by the incompetence of the
     of their religious dues, providing Hezbollah with an         regime’s policies, Iranian cash remains a vital lever in
     important source of additional funding. And much of          influencing the Middle East and beyond. Funda-
     the fighting in Iraq’s holy cities of Karbala and Najaf      mentally, the cost of support for terror is minimal,
     has centered around which faction would control the          and even the hundreds of millions extended to
     lucrative pilgrimage trade—another source of                 groups such as Hezbollah are more than recouped
     income for Islamist groups. Insurgencies generally           by the IRGC’s increasingly lucrative business activ-
     find ways to raise money—very few insurgencies               ities. More interesting, perhaps, is Iran’s effort to

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carve out economic spheres of influence that jibe           Afghanistan to Lebanon and in which it is by far the
with its political goals—hence, the buildup of trade        most important player—Iran’s 170 billion kWh of
and infrastructure in Syria, Afghanistan, and Iraq.         production is rivaled only by Turkey’s 154 billion. It
                                                            dwarfs the 33 billion or so that Iraq and Syria produce
Electricity. Iran’s electrical production and consump-      annually, to say nothing of Afghanistan’s 754 million.
tion have become a significant issue because Tehran            Does it matter? Depending on how the grid is
has claimed that it needs nuclear power to make up          designed, Tehran might or might not be able to turn
its production deficiencies. Tehran’s great efforts to      the lights off when its neighbors displease it. There are
export electrical generating capacity to neighboring        indications that it has done so in Iraq already. Even
countries, to put neighboring areas on the Iranian          without that threat, the scale of Iran’s generating
power grid, and to use Iranian cash to subsidize the        capacity and consumption compared to those of its
construction and improvement of transmission lines          neighbors can give it a disproportionate say in how
and transformers in neighboring states are somewhat         the entire grid is run, providing significant economic
puzzling in this regard. According to the CIA 2008          leverage throughout the region. And the very fact of
World Factbook, Iran exported nearly 2.8 billion            an interconnected power grid running through and
kilowatt-hours (kWh) in 2005 while importing                dependent on Iran is also a step toward an intercon-
slightly over 2 billion. By comparison, of the states       nected regional economy centered around Iran.
from India to Libya, only Turkey and Egypt exported
significant amounts of electricity—Turkey around            Transportation and Energy Infrastructure. Iran
1.7 billion kWh, and Egypt slightly less than 1 billion.    has been following a parallel path in the areas of
Ayatollah Ali Khamenei recently said that he expected       regional transportation and energy infrastructure.
Iran’s nuclear program to produce 20 million kilo-          Over the past two years, Tehran has initiated pro-
watts of power over the next twenty years.2                 grams to link Afghanistan’s border regions more
    But Iran has constructed generating capacity in         closely with their Iranian neighbors than with Kabul
excess of 1 million kWh in Syria, Lebanon, Afghani-         and to divert Afghan and ultimately Central Asian
stan, and Iraq in the past few years. It has built          trade through Iranian ports instead of Karachi. Ira-
transmission lines and transformers in Afghanistan’s        nian officials and private firms have been working to
western provinces, linking them to the Iranian              extend rail and road links through Iraq and Turkey
power grid. It has linked large areas of Iraq’s border      into Syria. Tehran has also been working to build gas
provinces to its power grid. It has proposed building       and oil pipelines from Iran into Syria and from Iraq
generators in Najaf and then linking that province to       into Iran (the Abadan pipeline project). This last is
the Iranian power grid, as well as joining the Ira-         the hardest to explain. Iraq already has a perfectly
nian, Syrian, Turkish, and Iraqi grids.                     good port and outlet for its own oil exports. Building
    There are a variety of reasons why Iran might want      a pipeline to Abadan makes little sense from an eco-
to adopt this policy, and we need not speculate about       nomic standpoint—states interested in helping Iraq
its aims. Three things, however, are worth noting.          rebuild its oil industry would do better to invest
First, the Iranian nuclear power program will not pri-      directly in Iraq. But it does (needlessly) tie Iraq to the
marily compensate for inadequate generating capacity        Iranian oil industry and create an additional and
in Iran but will rather subsidize a deliberate state pol-   unnecessary dependency for Baghdad on Tehran.
icy of exporting electricity and generating capacity           If the United States and Iran did not have so many
throughout the region. Second, the effect of this pol-      interests in conflict, and if Iran were not so reliably
icy will be to make Iran’s near neighbors, including        supporting America’s enemies throughout the region
Syria and Turkey, increasingly interdependent with          and working against American efforts to reestablish
Tehran and the Iranian economy. Third, Iran is mak-         central and independent control in Baghdad and
ing itself the nexus of a power grid that stretches from    Kabul, these economic efforts would be unremarkable

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     except as a sign that Tehran appears to be seeking to                        Religious Activities
     consolidate its position at the center of a region that
     runs from Central Asia to the West Bank and Gaza.             The Islamic Republic’s religious activities in the
     But in the context of the American-Iranian competi-           region are more readily apparent and more inher-
     tion, American policymakers have to ask themselves            ently troubling. The struggle within Shiism between
     if it is in our interest for Iran to be consolidating such    Khomeini-style proponents of clerical rule and tradi-
     a position. In all events, it is past time to start closely   tional quietism is as fierce as any sectarian struggle
     tracking Iranian economic activities not for signs of         between Sunnis and Shiites. Iraq’s liberation accentu-
     illegal or nefarious intent but for indications that even     ates the struggle, as any utterance from Iraqi religious
     overt and ostensibly harmless economic interactions           authorities that contradicts the Iranian supreme
     might be creating a reality on the ground that will           leader necessarily undercuts the Islamic Republic’s
     endanger American interests in the region.                    legitimacy. The Iranian embrace of lower-ranking
                                                                   clerics like Sadr and Islamist laymen like Maliki and
                                                                   Ibrahim Jaafari represents Iran’s desire for Iraq to be
                             Politics                              a compliant follower that poses no challenge to the
                                                                   Iranian clerical leadership. Iranian efforts to bring
     The Iranian regime interferes in the politics of states       Afghans and others for clerical training in Iran is, on
     and groups throughout the region. Iranian activity in         the one hand, natural and, on the other hand, dis-
     Iraqi politics is apparent: Sadr’s long stays in Tehran,      tressing. One would expect Iran, as a center of Shi-
     Iranian support for the Badr Corps re-invasion of             ism, to be a source of emulation and education for
     2003, continued Iranian support to various Iraqi              other Shiite clerics—and we must note that by no
     political parties, and so on. Iran has also attempted to      means do all of Iran’s leading Shiite clerics actually
     involve itself in the internal politics of Hezbollah. It is   accept the Khomeini ideals of political Shiism. On
     harder to say that Iran is interfering in Syrian politics,    the other hand, when the government that explicitly
     except in the sense that Tehran is clearly working to         embraces those ideas sends missionaries and brings
     stabilize and consolidate the rule of a weak Alawite          foreign clerics to study, one must assume until it is
     dictator. And, although there is evidence that Iran is        demonstrated otherwise that part of the purpose is to
     meddling in Afghan politics—most notably through              spread the ideas of the Iranian revolution. It is cer-
     the apparent manipulation of the involuntary refugee          tainly not in America’s interest for that to occur.
     repatriation crisis—it is more difficult to demonstrate
     the extent of that interference from open sources.
        All states have an interest in the success or failure                    The Hezbollah Model
     of parties and leaders in their neighbors. What mat-
     ters in this instance is that Iranian efforts to create       Finally, there have been many discussions of the
     dependency relationships between Tehran’s proxies             adoption of the “Hezbollah model” by Iranian prox-
     and Iran are rapidly increasing Tehran’s leverage in          ies and other groups. That model is usually taken
     regional political dynamics. Iranian leaders may not          to mean a political group dominated by a militia/
     give direct orders to their proxies, but states and           terrorist organization that provides social services to
     organizations that require continued military, finan-         populations it claims to govern in competition with
     cial, organizational, and training assistance from Iran       the sovereign government. Iraq’s Sadrists have clearly
     in order to survive are not independent of Tehran. As         followed this model, as have other groups in the
     we can see most vividly in Afghanistan, it is often not       region, such as Hamas.
     necessary for Tehran to give orders for others to                 But Western discussions of this model often
     know what the Iranians desire and what the conse-             ignore what is perhaps its most important character-
     quences of refusing them would be.                            istic: a particular kind of dependency relationship

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with Tehran. We have noted that Iran rarely gives                that the United States has been engaged in
direct orders to its proxies; conversely, it allows them         conflict with Iran for three decades is the
a fair degree of local independence. But it also retains         starting point for an analytical effort to
control over the most important components of its                understand fully what that conflict has
support. Most EFPs are built in Iran, and it does not            looked like from Tehran’s vantage point. We
appear that Tehran has been willing to “license” the             have started with what is easily demonstra-
technique to its allies. Doing so would create a much            ble. The next steps of this effort involve
greater degree of plausible deniability for the regime,          greater work on the internal dynamics of
but Tehran has preferred to keep control of the dis-             the Iranian regime and more intense study
persion of this technology. Tehran has likewise pre-             of Iranian activities on a regional basis.
ferred to send Iranian trainers or to bring local
end-users to Iran for training in advanced systems            • We must recognize that American and
and has remained the principal conduit for supply               Iranian interests conflict beyond the
even of Russian and Chinese systems, again at the               issue of the nuclear crisis. For too long,
expense of plausible deniability. Regime proxies must           discussions of “containment” have
know that they would suffer terribly if Tehran ever             addressed means of hammering the Ira-
cut them off—some would probably perish. The                    nians into submitting to their international
Hezbollah model is thus not simply a model for legit-           obligations on the nuclear issue. Resolving
imizing terrorist groups in their communities, but it           that issue is a pressing priority, but its reso-
is also a model that allows Iran to retain overall con-         lution will not end hostilities. The Islamic
trol over its proxies without having to command                 Republic and the United States have too
them directly.                                                  many other interests in conflict in a region
                                                                that is key to both sides.

                 Recommendations                              • Containment. The containment strategy
                                                                the United States adopted in the 1940s
The purpose of this report has been to identify and             was infinitely more comprehensive than
describe Iranian activities in several key areas. It is not     the strategies currently under considera-
exhaustive. The depth of Iranian economic and politi-           tion toward Iran. The United States
cal involvement in Iraq, for example, would require a           imposed sanctions on the Soviet Union
report as long as this. Fully cataloguing Iranian activ-        and its allies periodically, maintained a
ities in Syria and Lebanon is as large a task. Nor can          strong military deterrent, fought a rhetori-
we offer a set of recommendations that is in any way            cal and informational campaign, and occa-
complete or firm. What follows are a few fairly obvi-           sionally used force on smaller or larger
ous corollaries from the facts we have established.             scales against Soviet proxies. But the
                                                                United States also competed with the
   • The United States must begin to look                       Soviet Union in the fields of soft power
     holistically at Iranian activities across the              more directly. The Marshall Plan aimed to
     spectrum, from economic aid to military                    restore European economies as a way of
     support. The primary aim of this report has                shoring up European confidence to resist
     been to show that there are overarching pat-               the Soviet Union. Throughout the Cold
     terns in Iran’s activities in its region, patterns         War, the United States tracked Soviet
     that become clear when the customary                       efforts to create economic and military
     compartmentalization of the study of Ira-                  dependency in third states and competed
     nian issues is broken down. Recognizing                    with them intentionally. The current crisis

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       requires no less comprehensive a strategy.             challenges by Iranian proxies—such as the
       Iran cannot compete directly against the               murder of 241 U.S. Marines in Lebanon,
       United States in much of the region; where             the attack on Khobar Towers in Saudi
       the regime prospers, it is because the                 Arabia that left nineteen U.S. troops
       United States neither perceives nor engages            dead, and continuous attacks on the
       in competition. Roads and railways are                 American military in Iraq and increasingly
       built by Iran because the United States is             in Afghanistan—have too often gone unan-
       not in the game; southern Lebanon is                   swered by the United States. Recognizing
       beholden because America’s interest has                how enmeshed those proxies actually are in
       waned. Washington and its allies in the                an overarching struggle, we should con-
       region and beyond should work with Iraq,               sider at what point we might have to get
       Lebanon, Turkey, Afghanistan, Pakistan,                involved directly in those proxy struggles
       and the Central Asian states to develop                and, if so, on what terms.
       decentralized transportation networks that
       obviate dependency on Iran. Aid programs            • Mobilization. The United States is not now
       should contemplate how to avoid regional              mobilized on any dimension appropriate
       dependence on Iranian power. And                      for the necessary struggle. Our military is
       regional oil and gas distribution networks            too small, our foreign aid programs ill-
       should be incentivized to work around                 designed, our intelligence systems dysfunc-
       Tehran. American focus has thus far been              tional, and our decision-making apparatus
       on denial rather than on redirecting                  poorly designed and conditioned to take a
       Tehran’s allies. That must change.                    holistic view of the challenges we face in a
                                                             key region. Mobilization and reorganiza-
     • Proxy Conflict. The likelihood of any                 tion to face the new threat were key com-
       encounter between Iranian proxies and                 ponents of the Cold War containment
       U.S. forces escalating into a major conflict          strategy. They are no less important or
       between Iran and the United States is small.          urgent now.
       Outside Iraq, however, the United States
       has been reluctant to either combat these
       proxies (in Afghanistan) or empower their
       opponents in any significant fashion.                                   Notes
       (Those who might argue that U.S. assistance
       to Israel constitutes just such empowerment         1. Authors’ interviews with commanders and diplo-
       need only review Washington’s view of            mats in Iraq.
       Israeli military action against the Palestini-      2. “Khamenei Says Iran Ties with US Possible,” Asso-
       ans to realize this claim is false.) Military    ciated Press, January 3, 2008.




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